                                                                                        U.S. DISTRICT COURT – N.D. OF N.Y.

                                                                                                 FILED
1‬                               ‭UNITED STATES DIST‬‭RICT COURT‬
                                                                                            Mar 22 - 2025
2‬                       ‭FOR THE NORTHERN DISTRICT OF NEW YORK‬
                                                                                             John M. Domurad, Clerk
3‬

      ‭ tanley Zhong, Nan Zhong,‬‭and‬
      S
      ‭SWORD (Students Who Oppose‬
                                                                      3:25-CV-0365 (ECC/ML)
                                                           ‭Case No. ________________________‬
       ‭Racial Discrimination)‬‭,‬

                                ‭Plaintiffs,‬

      ‭v.‬                                                 ‭COMPLAINT‬

        ‭ he Trustees of Cornell University,‬
        T
        ‭in their official capacity as the‬
                                                           ‭JURY TRIAL DEMANDED‬
         ‭governing body of Cornell University;‬
          ‭Michael Kotlikoff,‬‭in their official‬
      ‭capacity as the President of Cornell‬
       ‭University,‬

                                ‭Defendant.‬




4‬             ‭​‬COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND‬

5‬                                              ‭DAMAGES‬


6‬I‭. INTRODUCTION


7‬           ‭1. ‭Plaintiffs Stanley Zhong (“Stanley”), Nan Zhong (“Nan”), and Students

8‬              ‭Who Oppose Racial Discrimination (“SWORD”), represented by Nan

9‬              ‭Zhong on behalf of its members and all others similarly situated,

10              ‭collectively referred to as “Plaintiffs,” bring this civil rights action against

11              ‭Cornell University (“Cornell”, “Defendant”) for engaging in racially




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‭        ‭discriminatory admissions practices that disadvantage highly qualified‬

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‭        ‭Asian-American applicants, including Stanley and members of SWORD.‬


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‭     ‭2.‬ ‭Despite Stanley’s exceptional academic achievements and remarkable‬

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‭        ‭professional accomplishments at a young age, his application to the‬

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‭        ‭undergraduate program at Cornell University was rejected. This result‬

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‭        ‭stands in stark contrast to his receipt of a full-time job offer from Google‬

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‭        ‭for a position requiring a Ph.D. degree or equivalent practical experience.‬


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‭     ‭3.‬ ‭Stanley’s experience is emblematic of a broader pattern of racial‬

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‭        ‭discrimination against highly qualified Asian-American applicants at‬

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‭        ‭Cornell. These admissions practices violate the Fourteenth Amendment to‬

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‭        ‭the United States Constitution, and Title VI of the Civil Rights Act of 1964.‬


12‬‭II. JURISDICTION AND VENUE‬
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‭     ‭4.‬ ‭This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331,‬

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‭        ‭as this action arises under the Constitution and laws of the United States,‬

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‭        ‭including Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d.‬


16‬
‭     ‭5.‬ ‭Venue is proper in this district under 28 U.S.C. § 1391(b) because a‬

17‬
‭        ‭substantial part of the events or omissions giving rise to the claim‬

18‬
‭        ‭occurred in this district.‬




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1‬‭III. PARTIES‬
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‭     ‭A. Plaintiffs‬


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‭     ‭A1. Co-plaintiff Stanley Zhong‬


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‭     ‭6.‬ ‭Co-plaintiff Stanley Zhong, born in 2005, is an Asian American residing in‬

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‭         ‭California. Stanley’s parents are first-generation immigrants to the United‬

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‭         ‭States from China. Stanley Zhong is a US citizen.‬


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‭     ‭7.‬ ‭As a self-taught programmer, Stanley has distinguished himself in various‬

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‭         ‭coding contests, ranking highly enough to receive an invitation from‬

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‭         ‭Google for a full-time job interview in 2019, without Google realizing he‬

10‬
‭         ‭was only 13 years old. Upon disclosure of his age, the interview was‬

11‬
‭         ‭canceled due to Google’s policy against hiring minors (See‬‭Exhibit 1‬‭for‬

12‬
‭         ‭email exchanges with a Google recruiter).‬


13‬
‭     ‭8.‬ ‭Competing against top professionals from around the world, Stanley‬

14‬
‭         ‭advanced to the Google Code Jam Coding Contest semi-final in 2021‬

15‬
‭         ‭(See‬‭Exhibit 2‬‭).‬


16‬
‭     ‭9.‬ ‭Competing against top professionals from around the world, Stanley‬

17‬
‭         ‭advanced to the Meta (Facebook) Hacker Cup semi-final in 2023 (See‬

18‬
‭         ‭Exhibit 3‬‭).‬


19‬
‭     ‭10.‬‭Stanley won the 2nd place in MIT (Massachusetts Institute of Technology)‬

20‬
‭         ‭Battlecode's global high school division twice (2nd place and 1st place in‬




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1‬
‭        ‭the US, respectively) (See‬‭Exhibit 4‬‭). He was invited to MIT with expenses‬

2‬
‭        ‭paid.‬


3‬
‭     ‭11.‬‭Stanley won the 2nd Place in CMU (Carnegie Mellon University)‬

4‬
‭        ‭cybersecurity competition picoCTF‬‭(‬‭See‬‭Exhibit 5‬‭).‬‭He was invited to CMU‬

5‬
‭        ‭with expenses paid.‬


6‬
‭     ‭12.‬‭Stanley won the 6th place in Stanford ProCo (See‬‭Exhibit‬‭6‭)‬ .‬


7‬
‭     ‭13.‬‭Stanley advanced to the USA Computing Olympiad (USACO) Platinum‬

8‬
‭        ‭Division (See‬‭Exhibit 7‬‭).‬


9‬
‭     ‭14.‬‭In April 2020, after seeing an NPR news story that the unemployment‬

10‬
‭        ‭office’s system programmed in COBOL was not keeping up with the‬

11‬
‭        ‭workload caused by COVID (See‬‭Exhibit 8‬‭), Stanley‬‭taught himself‬

12‬
‭        ‭COBOL, sent his sample code on GitHub (See‬‭Exhibit‬‭9‬‭) to COBOL‬

13‬
‭        ‭Cowboys featured in the news story, and volunteered to help. Mr. Bill‬

14‬
‭        ‭Hinshaw, COBOL Cowboys CEO, graciously called Stanley and offered‬

15‬
‭        ‭encouraging words (although he did mention putting a 14-year-old in front‬

16‬
‭        ‭of his clients would probably freak them out). (See‬‭Exhibit 10‬‭for the email‬

17‬
‭        ‭exchange with Mr. Bill Hinshaw to set up the call.)‬


18‬
‭     ‭15.‬‭After the attempt to volunteer for COBOL Cowboys fell through, Stanley‬

19‬
‭        ‭saw news reports about surging demand for e-signing services caused by‬

20‬
‭        ‭the COVID lockdown. Stanley was unhappy that DocuSign didn’t provide‬




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‭        ‭any relief. So, he launched an unlimited free e-signing service named‬

2‬
‭        ‭RabbitSign in 2021 (See‬‭Exhibit 11‬‭).‬


3‬
‭     ‭16.‬‭Built on Amazon Web Services (AWS), RabbitSign was designed and‬

4‬
‭        ‭implemented so well that AWS’s Well-Architected Review concluded that it‬

5‬
‭        ‭was “one of the most efficient and secure accounts” they’d ever reviewed‬

6‬
‭        ‭(See‬‭Exhibit 12‬‭).‬


7‬
‭     ‭17.‬‭To showcase RabbitSign’s exemplary use of AWS Serverless and‬

8‬
‭        ‭compliance services, AWS decided to feature it in a case study—a‬

9‬
‭        ‭prestigious recognition that is notoriously difficult to attain, even for‬

10‬
‭        ‭seasoned professionals (See‬‭Exhibit 13‬‭).‬


11‬
‭     ‭18.‬‭Shortly before Stanley turned 18, five randomly selected full-time Google‬

12‬
‭        ‭engineers, who were specifically trained and qualified to evaluate‬

13‬
‭        ‭candidates, devoted no less than ten hours collectively to evaluating‬

14‬
‭        ‭Stanley’s skills, including his technical expertise and soft skills, such as‬

15‬
‭        ‭teamwork. Based solely on their assessments, without any external‬

16‬
‭        ‭influence, these Google engineers concluded that Google should hire‬

17‬
‭        ‭Stanley for an L4 position, which requires a Ph.D. degree or equivalent‬

18‬
‭        ‭practical experience. Consequently, Google made an offer for a full-time‬

19‬
‭        ‭L4 position to Stanley in September 2023, shortly after Stanley turned 18‬

20‬
‭        ‭(See‬‭Exhibit 14‬‭).‬




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‭     ‭19.‬‭Google’s compensation structure is tied to the level of its employees’‬

2‬
‭        ‭positions, creating a natural disincentive to over-assess an employee’s‬

3‬
‭        ‭qualifications.‬


4‬
‭     ‭20.‬‭Mr. Dan Bloomberg, a longtime Google employee who served on the‬

5‬
‭        ‭hiring committees for 18 years, has agreed to testify regarding Google’s‬

6‬
‭        ‭interview process when this lawsuit proceeds to trial.‬


7‬
‭     ‭21.‬‭In January 2025, Stanley received his performance evaluation as a‬

8‬
‭        ‭Google employee for the entirety of 2024, with a rating and manager‬

9‬
‭        ‭assessment indicating that he fully met the expectations for his position at‬

10‬
‭        ‭Google and demonstrated a strong growth trajectory.‬


11‬
‭     ‭22.‬‭Because of his groundbreaking work to provide the world’s only unlimited‬

12‬
‭        ‭free HIPAA-compliant e-signing service to help lower America’s healthcare‬

13‬
‭        ‭cost, Stanley received an inbound interview request from‬‭Viewpoint with‬

14‬
‭        ‭Dennis Quaid‬‭, a series of short documentaries on innovations‬‭aired on‬

15‬
‭        ‭CNBC, Fox Business, Bloomberg, and public TV stations across the US.‬

16‬
‭        ‭Their past guests included President George H.W. Bush, Secretary Colin‬

17‬
‭        ‭Powell, and Fortune 500 CEOs. (See‬‭Exhibit 15‬‭for‬‭the industry news‬

18‬
‭        ‭coverage for RabbitSign’s free HIPAA-compliant e-signing. See‬‭Exhibit 16‬

19‬
‭        ‭for the episode of‬‭Viewpoint with Dennis Quaid‬‭featuring‬‭RabbitSign and‬

20‬
‭        ‭Stanley.)‬


21‬
‭     ‭23.‬‭Stanley’s high school grade point average was 3.97 (unweighted) and‬

22‬
‭        ‭4.42 (weighted) (See‬‭Exhibit 17‬‭).‬



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‭     ‭24.‬‭Although Stanley’s high school does not publish individual student‬

2‬
‭        ‭rankings based on grade point average, he is confirmed to be at least‬

3‬
‭        ‭within the top 9% of his class, as he qualified for the University of‬

4‬
‭        ‭California’s (“UC”) “Eligibility in the Local Context” (ELC). (See‬‭Exhibit 18‬

5‬
‭        ‭for Stanley’s ELC qualification.) ELC guarantees admission to a UC‬

6‬
‭        ‭campus for California high school students who rank in the top 9% of their‬

7‬
‭        ‭class, as determined by their GPA in UC-approved coursework completed‬

8‬
‭        ‭in the 10th and 11th grades.‬


9‬
‭     ‭25.‬‭U.S. News and World Report ranks Stanley’s high school (Henry Gunn‬

10‬
‭        ‭High School) #14 in California and #135 nationally (See‬‭Exhibit 19‬‭).‬


11‬
‭     ‭26.‬‭Niche ranks Stanley’s high school (Henry Gunn High School) #1 best‬

12‬
‭        ‭public high school in San Francisco Bay Area and #4 best public high‬

13‬
‭        ‭school in California (See‬‭Exhibit 20‬‭).‬


14‬
‭     ‭27.‬‭Stanley achieved a maximum PSAT score without any preparation (See‬

15‬
‭        ‭Exhibit 21‬‭).‬


16‬
‭     ‭28.‬‭Stanley scored 1590 (out of 1600) on the SAT with only a few nights of‬

17‬
‭        ‭self study without any paid test prep (See‬‭Exhibit‬‭21‬‭as well). He took the‬

18‬
‭        ‭SAT only once.‬


19‬
‭     ‭29.‬‭Stanley was a National Merit Scholarship finalist (See‬‭Exhibit 22‬‭).‬


20‬
‭     ‭30.‬‭While in high school, Stanley participated in and led numerous‬

21‬
‭        ‭extracurricular and volunteer activities.‬



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‭     ‭31.‬‭Stanley served as a founding officer and president of the competitive‬

2‬
‭        ‭programming club at his high school (See‬‭Exhibit 23‬‭).‬


3‬
‭     ‭32.‬‭Stanley co-founded and served as the 2nd president of a nonprofit named‬

4‬
‭        ‭OpenBrackets‬‭, which brought free coding lessons to‬‭500+ kids in‬

5‬
‭        ‭underserved communities in California, Washington, and Texas over 2‬

6‬
‭        ‭years (See‬‭Exhibit 24‬‭). It received positive feedback‬‭from Stackoverflow‬

7‬
‭        ‭co-founder, Mr. Jeff Atwood.‬


8‬
‭     ‭33.‬‭Because of his work at OpenBrackets, Stanley received the highest level‬

9‬
‭        ‭of the President’s Volunteer Service Award (See‬‭Exhibit‬‭25‬‭).‬


10‬
‭     ‭34.‬‭Stanley’s college application essay was pretty much captured in the‬

11‬
‭        ‭Viewpoint interview mentioned supra. It discussed why he created‬

12‬
‭        ‭RabbitSign, how he overcame rejections to eventually find a partner to‬

13‬
‭        ‭provide free HIPAA-compliant e-signing to help lower America's healthcare‬

14‬
‭        ‭cost, and how RabbitSign is the first Activism Corporation created to‬

15‬
‭        ‭counter corporate greed.‬


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‭     ‭35.‬‭For enrollment in fall 2023, Stanley applied to the undergraduate‬

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‭        ‭Computer Science program at Cornell University. His application was‬

18‬
‭        ‭rejected.‬


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‭     ‭36.‬‭In direct connection with Cornell’s rejection of his applications, Stanley‬

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‭        ‭Zhong suffered emotional distress.‬




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‭     ‭37.‬‭Stanley’s story was reported in national news in October 2023 (See‬

2‬
‭        ‭Exhibit 26‬‭) and cited in a congressional hearing in September 2023 (See‬

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‭        ‭Exhibit 27‬‭).‬


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‭     ‭38.‬‭After Stanley’s story hit the news in October 2023, multiple college‬

5‬
‭        ‭admission counselors examined his application, including his essay. None‬

6‬
‭        ‭of them could figure out a legitimate reason why Stanley was rejected.‬

7‬
‭        ‭Some of them have offered to testify as expert witnesses when this lawsuit‬

8‬
‭        ‭proceeds to trial.‬


9‬
‭     ‭39.‬‭Stanley was denied the opportunity to compete for admission to Cornell on‬

10‬
‭        ‭equal footing with other applicants on the basis of race or ethnicity due to‬

11‬
‭        ‭Cornell’s discriminatory admissions policies and practices.‬


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‭     ‭40.‬‭Stanley is ready and able to apply to Cornell when it ceases its intentional‬

13‬
‭        ‭discrimination against Asian Americans.‬


14‬
‭     ‭41.‬‭Stanley, Nan, and SWORD reached out to multiple legal resources and‬

15‬
‭        ‭entities for representation. However, these entities either declined to take‬

16‬
‭        ‭the case or failed to respond. Consequently, Stanley is compelled to‬

17‬
‭        ‭represent himself as a pro se litigant.‬


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‭     ‭A2. Co-plaintiff Nan Zhong‬


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‭     ‭42.‬‭Co-plaintiff, Nan Zhong, an Asian-American resident of California, is‬

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‭        ‭Stanley Zhong’s father.‬




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‭     ‭43.‬‭A first-generation immigrant from China, Nan has a direct and personal‬

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‭        ‭stake in this matter due to the discriminatory practices of Cornell’s‬

3‬
‭        ‭admissions process.‬


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‭     ‭44.‬‭The 2024 decision of the Second Circuit Court of Appeals in‬‭Chinese‬

5‬
‭        ‭American Citizens Alliance of Greater New York (CACAGNY) v. Adams‬‭,‬

6‬
‭        ‭116 F.4th 161, affirms that an “equal protection claim can be asserted by‬

7‬
‭        ‭individuals alleging they suffered harm from the discriminatory policy or‬

8‬
‭        ‭law, as well as other individuals (such as a parent or guardian) or‬

9‬
‭        ‭organizations that also have standing to sue.”‬


10‬
‭     ‭45.‬‭Nan suffered emotional distress as a direct result of Cornell’s‬

11‬
‭        ‭discriminatory policies, thereby establishing his standing to bring this‬

12‬
‭        ‭claim.‬


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‭     ‭46.‬‭Nan’s children intend to apply for admission to Cornell but will be denied‬

14‬
‭        ‭the opportunity to compete on equal footing with other applicants due to‬

15‬
‭        ‭Cornell’s discriminatory admissions policies. As a result, they may face‬

16‬
‭        ‭rejection based on race or ethnicity rather than merit. These personal‬

17‬
‭        ‭impacts further establish Nan’s standing to bring this claim.‬


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‭     ‭47.‬‭Beyond personal impact, Nan is acutely aware of the chilling effect that‬

19‬
‭        ‭Asian-American students face when asserting their legal rights in college‬

20‬
‭        ‭admissions. Public hostility toward such efforts is well-documented,‬

21‬
‭        ‭particularly on college campuses.‬




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‭     ‭48.‬‭For example, during the‬‭SFFA v. Harvard‬‭trial, widespread protests‬

2‬
‭        ‭erupted against SFFA’s challenge to race-conscious admissions (See‬

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‭        ‭Exhibit 28‬‭). Even after the Supreme Court ruled against‬‭Harvard,‬

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‭        ‭then-president Claudine Gay responded with open defiance,‬‭stating‬‭, “We‬

5‬
‭        ‭will comply with the court’s decision. But it doesn’t change our values.”‬

6‬
‭        ‭(See‬‭Exhibit 29‬‭.) While the first half of her statement‬‭reflects legal‬

7‬
‭        ‭necessity, the latter half unmistakably signals defiance. Notably, following‬

8‬
‭        ‭the Supreme Court’s ruling in SFFA, not a single Harvard administrator‬

9‬
‭        ‭apologized for the harm their policies inflicted on Asian-American‬

10‬
‭        ‭applicants.‬


11‬
‭     ‭49.‬‭Academics such as Professor Janelle Wong and Professor Viet Thanh‬

12‬
‭        ‭Nguyen publicly‬‭asserted‬‭that no Asian American had‬‭suffered‬

13‬
‭        ‭discrimination in the college admissions process, misleading the public‬

14‬
‭        ‭with statements like, “Not a single Asian-American student has testified‬

15‬
‭        ‭that they faced discrimination in the high-profile Harvard case.” (See‬

16‬
‭        ‭Exhibit 30‬‭.) Such assertions are demonstrably inaccurate‬‭and serve to‬

17‬
‭        ‭suppress legitimate grievances. On November 4, 2024, Nan challenged‬

18‬
‭        ‭both Professor Janelle Wong and Professor Viet Thanh Nguyen to a public‬

19‬
‭        ‭debate. Neither replied as of the filing of this lawsuit.‬


20‬
‭     ‭50.‬‭This hostile climate has a direct, suppressive effect on potential plaintiffs.‬

21‬
‭        ‭Many Asian-American applicants rejected by colleges initially expressed‬

22‬
‭        ‭interest in joining SWORD’s lawsuit. However, after spending just a few‬

23‬
‭        ‭months on college campuses as freshmen, most withdrew.‬



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‭     ‭51.‬‭A particularly striking example occurred at a panel discussion following a‬

2‬
‭        ‭screening of the MSNBC documentary‬‭Admission Granted‬‭in San‬

3‬
‭        ‭Francisco on May 9, 2024. The reaction of the audience, a few hundred‬

4‬
‭        ‭people strong, vividly illustrated this bias. When the moderator introduced‬

5‬
‭        ‭a Harvard student advocating for race-conscious admissions, the room‬

6‬
‭        ‭erupted in thunderous applause and cheers. In contrast, the‬

7‬
‭        ‭Asian-American student whose case launched the SFFA lawsuit received‬

8‬
‭        ‭only sparse clapping—approximately a quarter of which likely came from‬

9‬
‭        ‭Nan alone.‬


10‬
‭     ‭52.‬‭This pervasive social hostility—manifesting in microaggressions and overt‬

11‬
‭        ‭hostility—creates a profound chilling effect that discourages‬

12‬
‭        ‭Asian-American students from challenging discriminatory policies,‬

13‬
‭        ‭effectively silencing those who have been harmed. It is therefore‬

14‬
‭        ‭reasonable to infer that numerous Asian-American applicants, either‬

15‬
‭        ‭already harmed by Cornell’s admissions practices or anticipating future‬

16‬
‭        ‭discrimination, remain silent due to legitimate concerns about retaliation or‬

17‬
‭        ‭social pressure. Under the chilling effects doctrine, which recognizes that‬

18‬
‭        ‭individuals may refrain from asserting their rights due to fear of reprisal,‬

19‬
‭        ‭Nan’s standing to sue is further reinforced.‬


20‬
‭     ‭53.‬‭Stanley, Nan, and SWORD reached out to multiple legal resources and‬

21‬
‭        ‭entities for representation. However, these entities either declined to take‬

22‬
‭        ‭the case or failed to respond. Consequently, Nan is compelled to‬

23‬
‭        ‭represent himself as a pro se litigant.‬



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1‬
‭     ‭A3. Co-plaintiff Students Who Oppose Racial Discrimination (SWORD)‬


2‬
‭     ‭54.‬‭Co-plaintiff, Students Who Oppose Racial Discrimination (“SWORD”), is a‬

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‭        ‭voluntary membership organization focused on stopping racial‬

4‬
‭        ‭discrimination in college admissions through litigations. It was established‬

5‬
‭        ‭in October 2024 by people harmed and outraged by flagrant racial‬

6‬
‭        ‭discrimination in college admissions.‬


7‬
‭     ‭55.‬‭SWORD is a coalition comprising prospective applicants to higher‬

8‬
‭        ‭education institutions, individuals who were denied admission, their‬

9‬
‭        ‭parents, and supporters of the organization’s mission to eliminate racial‬

10‬
‭        ‭discrimination in higher education admissions.‬


11‬
‭     ‭56.‬‭Nan Zhong is the President of SWORD.‬


12‬
‭     ‭57.‬‭SWORD’s website is‬‭https://sword.education‬‭.‬


13‬
‭     ‭58.‬‭SWORD has at least one Asian-American member who is currently in high‬

14‬
‭        ‭school and intends to apply for admission to Cornell (“Future Applicants”).‬


15‬
‭     ‭59.‬‭Future Applicants will be denied the opportunity to compete for admission‬

16‬
‭        ‭to Cornell on equal footing with other applicants on the basis of race or‬

17‬
‭        ‭ethnicity due to Cornell’s discriminatory admissions policies. As a result,‬

18‬
‭        ‭Future Applicants may be denied admission to Cornell because of these‬

19‬
‭        ‭discriminatory policies and practices.‬




  ‭Zhong & SWORD v. Cornell University‬                                   ‭Page‬‭13‬‭of‬‭147‬
1‬
‭     ‭60.‬‭SWORD has at least one Asian-American member whose children either‬

2‬
‭        ‭intend to apply for admission to Cornell or applied for but were denied‬

3‬
‭        ‭admission to Cornell in recent years (“Parents”).‬


4‬
‭     ‭61.‬‭Parents’ children were or will be denied the opportunity to compete for‬

5‬
‭        ‭admission to Cornell on equal footing with other applicants on the basis of‬

6‬
‭        ‭race or ethnicity due to Cornell’s discriminatory admissions policies. As a‬

7‬
‭        ‭result, Parents’ children were or may be denied admission to Cornell‬

8‬
‭        ‭because of these discriminatory policies and practices.‬


9‬
‭     ‭62.‬‭Under‬‭Hunt v. Washington State Apple Advertising Commission,‬‭432 U.S.‬

10‬
‭        ‭333 (1977)‬‭, SWORD qualifies for associational standing‬‭because 1)‬

11‬
‭        ‭SWORD has members who have standing to sue Cornell themselves, 2)‬

12‬
‭        ‭this lawsuit is germane to SWORD's purpose, and 3) neither the claim‬

13‬
‭        ‭asserted nor the relief requested requires the participation of individual‬

14‬
‭        ‭members in the lawsuit.‬


15‬
‭     ‭63.‬‭Stanley is not a member of SWORD.‬


16‬
‭     ‭64.‬‭The emotional toll experienced by Stanley and Nan exemplify the broader‬

17‬
‭        ‭emotional and potential economic harms associated with racially‬

18‬
‭        ‭discriminatory admissions practices by Cornell. Such policies do not‬

19‬
‭        ‭merely affect statistical representation; they impose real-world‬

20‬
‭        ‭consequences on a large group of individual applicants.‬




  ‭Zhong & SWORD v. Cornell University‬                                    ‭Page‬‭14‬‭of‬‭147‬
1‬
‭     ‭65.‬‭Stanley, Nan, and SWORD reached out to multiple legal resources and‬

2‬
‭        ‭entities for representation. However, these entities either declined to take‬

3‬
‭        ‭the case or failed to respond. Consequently, as President of SWORD, Nan‬

4‬
‭        ‭is compelled to represent the organization as a pro se litigant.‬


5‬
‭     ‭B. Defendant‬


6‬
‭     ‭66.‬‭Defendant is a private university in the State of New York. Because it‬

7‬
‭        ‭receives federal funding, it is subject to Title VI of the Civil Rights Act of‬

8‬
‭        ‭1964, 42 U.S.C. § 2000d‬‭et. seq‬‭.‬


9‬‭IV. FACTUAL ALLEGATIONS‬
‭


10‬
‭     ‭A. Asian Applicants Receiving Discriminatory Results‬


11‬
‭     ‭67.‬‭For undergraduate enrollment in fall 2023, Stanley applied to Cornell.‬

12‬
‭        ‭Despite his extraordinary qualifications, he was rejected. This outcome‬

13‬
‭        ‭defies common sense and contradicts expert assessments of his‬

14‬
‭        ‭application. As the Supreme Court noted in‬‭Miller‬‭v. Johnson‬‭, 515 U.S.‬

15‬
‭        ‭900,901 (1995), "‬‭bizarreness‬‭" can serve as "persuasive‬‭circumstantial‬

16‬
‭        ‭evidence that race for its own sake…was a legislature's dominant and‬

17‬
‭        ‭controlling rationale." Similarly, the stark disparity between Stanley’s‬

18‬
‭        ‭qualifications and the Cornell admissions decisions raises serious‬

19‬
‭        ‭concerns about the role of race in Cornell’s admissions process. This‬

20‬
‭        ‭striking incongruity strongly suggests that Cornell’s admissions policies‬

21‬
‭        ‭are being applied in a discriminatory fashion.‬




  ‭Zhong & SWORD v. Cornell University‬                                      ‭Page‬‭15‬‭of‬‭147‬
1‬
‭     ‭68.‬‭Plaintiffs believe and allege that Stanley’s rejection by Cornell was not‬

2‬
‭        ‭based on his qualifications but on his race, as an Asian American.‬


3‬
‭     ‭B. Widespread Anti-Asian Discrimination at Elite Universities‬


4‬
‭     ‭69.‬‭After the state‬‭audit‬‭in 1987 (See‬‭Exhibit 31‬‭), University‬‭of California‬

5‬
‭        ‭Berkeley Chancellor Ira Michael Heyman publicly‬‭apologized‬‭in 1989 for‬

6‬
‭        ‭admissions policies that led to a decline in Asian-American undergraduate‬

7‬
‭        ‭enrollment (See‬‭Exhibit 32‬‭).‬


8‬
‭     ‭70.‬‭On September 22, 2016,‬‭Inside Higher Education‬‭released‬‭a survey of‬

9‬
‭        ‭admission officers. It revealed 42% of admission officers from private‬

10‬
‭        ‭colleges and 39% of admission officers from public colleges believe that‬

11‬
‭        ‭colleges hold Asian-American applicants to a higher standard (See‬‭Exhibit‬

12‬
‭        ‭33‬‭).‬


13‬
‭     ‭71.‬‭On May 25, 2016, Dr. Michele Hernandez, former Dartmouth admission‬

14‬
‭        ‭officer,‬‭revealed‬‭on‬‭Huffington Post‬‭“how even the‬‭so-called ‘holistic‬

15‬
‭        ‭process’ can discriminate against Asian students” and how Ivy League‬

16‬
‭        ‭college admission officers often use racial stereotypes to discriminate‬

17‬
‭        ‭against Asian-American applicants (See‬‭Exhibit 34‬‭).‬


18‬
‭     ‭72.‬‭Harvard openly gave preferential treatment to some racial groups at the‬

19‬
‭        ‭expense of Asian-American applicants until its practice was ruled illegal by‬

20‬
‭        ‭the Supreme Court in‬‭SFFA v. Harvard‬‭in 2023. Notably,‬‭following the‬

21‬
‭        ‭Supreme Court’s ruling in SFFA, not a single Harvard administrator‬




  ‭Zhong & SWORD v. Cornell University‬                                           ‭Page‬‭16‬‭of‬‭147‬
1‬
‭        ‭apologized for the harm their policies inflicted on Asian-American‬

2‬
‭        ‭applicants.‬


3‬
‭     ‭73.‬‭As documented in the‬‭SFFA’s legal complaint‬‭against‬‭Harvard (page 60),‬

4‬
‭        ‭Asian-American applicants and their families know that they are being‬

5‬
‭        ‭discriminated against by elite universities (See‬‭Exhibit‬‭35‬‭).‬


6‬
‭     ‭74.‬‭As documented in the‬‭SFFA’s legal complaint‬‭against‬‭Harvard (page 57),‬

7‬
‭        ‭college counselors acknowledge discrimination against Asian Americans‬

8‬
‭        ‭at elite universities (See‬‭Exhibit 36‬‭).‬


9‬
‭     ‭75.‬‭It is well documented that many Asian-American applicants attempt to‬

10‬
‭        ‭appear “less Asian” on their college applications to avoid potential bias‬

11‬
‭        ‭(See‬‭Exhibit 37‬‭).‬


12‬
‭     ‭76.‬‭Admission officers at elite universities have described Asian-American‬

13‬
‭        ‭applicants using derogatory racial stereotypes, such as labeling them as‬

14‬
‭        ‭"yet another textureless math grind" (See‬‭Exhibit‬‭39‬‭).‬


15‬
‭     ‭77.‬‭Evidence also shows that elite universities were aware of discriminatory‬

16‬
‭        ‭practices but often ignored or denied the issue until confronted with legal‬

17‬
‭        ‭challenges. For instance, in 2006, Jian Li, an Asian-American applicant,‬

18‬
‭        ‭filed a formal complaint against Princeton University for racial‬

19‬
‭        ‭discrimination in admissions. Following this action, Princeton's admission‬

20‬
‭        ‭rate for Asian-American students rose from 14.7% in 2007 to 25.4% in‬

21‬
‭        ‭2014 (See‬‭Exhibit 38‬‭). Similarly, after SFFA sued‬‭Harvard in 2015, the‬




  ‭Zhong & SWORD v. Cornell University‬                                        ‭Page‬‭17‬‭of‬‭147‬
1‬
‭        ‭percentage of Asian-American admits increased from 17% in 2014 to 22%‬

2‬
‭        ‭in 2016 (See‬‭Exhibit 38‬‭as well).‬


3‬
‭     ‭78.‬‭These patterns demonstrate a troubling reality: institutions were capable‬

4‬
‭        ‭of increasing Asian-American enrollment with little change in applicant‬

5‬
‭        ‭qualifications, suggesting prior suppression of Asian admissions through‬

6‬
‭        ‭discriminatory policies. This raises legal concerns about Cornell’s own‬

7‬
‭        ‭admissions practices. Legal scrutiny is warranted to uncover the extent of‬

8‬
‭        ‭Cornell’s awareness of and complicity in similar practices that have‬

9‬
‭        ‭disadvantaged highly qualified Asian-American applicants.‬


10‬
‭     ‭79.‬‭Compiling his Pulitzer Prize-winning reporting into a book titled‬‭The Price‬

11‬
‭        ‭of Admission‬‭, Daniel Golden documented multiple highly‬‭qualified Asian‬

12‬
‭        ‭applicants rejected by the University of California, Harvard, Yale,‬

13‬
‭        ‭Princeton, Brown, Columbia, Stanford, and Massachusetts Institute of‬

14‬
‭        ‭Technology. For example, UCLA rejected Stanley Park, a Korean‬

15‬
‭        ‭American student who faced serious adversity (single immigrant parent‬

16‬
‭        ‭with cancer and no college degree), while accepting non-Asian students‬

17‬
‭        ‭with SAT scores 520 and 560 points lower. (See‬‭Exhibit‬‭39‬‭for the relevant‬

18‬
‭        ‭excerpt from‬‭The Price of Admission‬‭.)‬


19‬
‭     ‭80.‬‭In 2003, Mr. John Moores, then chairman of the UC Board of Regents,‬

20‬
‭        ‭accused UC’s flagship campus of “blatantly” discriminating against Asian‬

21‬
‭        ‭Americans (See‬‭Exhibit 40‬‭).‬




  ‭Zhong & SWORD v. Cornell University‬                                     ‭Page‬‭18‬‭of‬‭147‬
1‬
‭     ‭81.‬‭Following the implementation of a holistic review system, UCLA prohibited‬

2‬
‭        ‭faculty members on its Admissions Committee from accessing admissions‬

3‬
‭        ‭data. In response, Professor Tim Groseclose invoked whistleblower‬

4‬
‭        ‭protections and resigned from UCLA in protest (See‬‭Exhibit 41‬‭). In‬

5‬
‭        ‭Cheating: An Insider's Report on the Use of Race in Admissions at UCLA‬‭,‬

6‬
‭        ‭Professor Groseclose described how then-UCLA Chancellor Norm‬

7‬
‭        ‭Abrams explicitly cited raising African American enrollment as the‬

8‬
‭        ‭motivation behind adopting holistic admissions. In addition, Professor‬

9‬
‭        ‭Groseclose’s statistical analysis showed that, for a group of applicants‬

10‬
‭        ‭receiving the same scores from their initial readers, UCLA admitted 55%‬

11‬
‭        ‭poor African Americans, 38% rich African Americans, 23% poor North‬

12‬
‭        ‭Asians and 18% rich North Asians. Note that‬‭rich‬‭African‬‭Americans were‬

13‬
‭        ‭admitted much more frequently than‬‭poor‬‭North Asians.‬‭UC never‬

14‬
‭        ‭disputed the accuracy of Professor Groseclose’s account. (See‬‭Exhibit 42‬

15‬
‭        ‭for excerpts from Professor Tim Groseclose’s book‬‭Cheating‬‭.)‬


16‬
‭     ‭82.‬‭In a study commissioned by UCLA, only later obtained through public‬

17‬
‭        ‭records requests, sociology professor Robert Mare‬‭documented‬‭a‬

18‬
‭        ‭consistent pattern of anti-Asian discrimination in admissions at UCLA. His‬

19‬
‭        ‭report said, “‘North Asian’ (Chinese, Japanese, Korean, Indian/Pakistani‬

20‬
‭        ‭American) applicants receive somewhat less favorable holistic read scores‬

21‬
‭        ‭than applicants in other ethnic identity groups who are otherwise similar in‬

22‬
‭        ‭measured academic qualifications, personal characteristics, and‬

23‬
‭        ‭measured challenges and hardships.” It further indicated that “among‬




  ‭Zhong & SWORD v. Cornell University‬                                   ‭Page‬‭19‬‭of‬‭147‬
1‬
‭        ‭otherwise equivalent applicants, whites, African Americans and Latinos‬

2‬
‭        ‭are overrepresented among those admitted, and Asian-American‬

3‬
‭        ‭applicants are underrepresented.” Additionally, the report noted that “the‬

4‬
‭        ‭disadvantages of Asian applicants occur, with varying magnitudes,‬

5‬
‭        ‭throughout the admissions process.” (See Exhibit 56 in case 2:25-cv-0495‬

6‬
‭        ‭in the U.S. District Court for the Eastern District of California).‬


7‬
‭     ‭83.‬‭After Dr. Jennifer Lucero took over UCLA medical school admissions in‬

8‬
‭        ‭June 2020, the number of Asian matriculants at UCLA medical school‬

9‬
‭        ‭declined from 84 to 55 from 2019 through 2022, a drop of 35% (See‬

10‬
‭        ‭Exhibit 43‬‭). Precipitous changes in admission rates‬‭strongly suggest‬

11‬
‭        ‭deliberate conscious race-based directives.‬


12‬
‭     ‭C. Deep-Rooted Culture of Identity Over Academics and Legal Evasion‬

13‬‭in Higher Education‬
‭


14‬
‭     ‭84.‬‭According to a survey by the Foundation for Individual Rights and‬

15‬
‭        ‭Expression, 88% of Cornell’s students self-censor their speech on‬

16‬
‭        ‭campus.‬


17‬
‭     ‭85.‬‭Around 1990, then-University of Michigan (UM) President James J.‬

18‬
‭        ‭Duderstadt instituted the‬‭Michigan Mandate‬‭, describing‬‭it as “a blueprint‬

19‬
‭        ‭for fundamental change in the ethnic composition of the university‬

20‬
‭        ‭community.” (See‬‭Exhibit 44‬‭.) He claimed it strategically‬‭linked 'academic‬

21‬
‭        ‭excellence and social diversity.' Decades later, the current UM President‬

22‬
‭        ‭Santa Ono echoed this sentiment, stating, “At the University of Michigan,‬



  ‭Zhong & SWORD v. Cornell University‬                                      ‭Page‬‭20‬‭of‬‭147‬
1‬
‭        ‭we are convinced that academic excellence goes hand-in-hand with‬

2‬
‭        ‭diversity, inclusion and equity.” However, UM’s rejection of highly qualified‬

3‬
‭        ‭applicants like Stanley suggests a departure from genuine academic‬

4‬
‭        ‭excellence in favor of ideological priorities.‬


5‬
‭     ‭86.‬‭In 2023, Brown University’s Medical School prioritized Diversity, Equity,‬

6‬
‭        ‭and Inclusion (DEI) over clinical skills in its‬‭faculty‬‭promotion criteria‬‭,‬

7‬
‭        ‭raising concerns about the potential impact on patient care quality (See‬

8‬
‭        ‭Exhibit 45‬‭).‬


9‬
‭     ‭87.‬‭Mr. Steven Dubinett, the dean of UCLA medical school, directs a center‬

10‬
‭        ‭that houses a race-based fellowship. Its web page was deleted after‬

11‬
‭        ‭media exposure (See‬‭Exhibit 46‬‭), indicating awareness‬‭of its illegality.‬


12‬
‭     ‭88.‬‭A New York Times‬‭opinion piece‬‭by a former UC admissions‬‭reader‬

13‬
‭        ‭shared her detection of “unspoken directives”, questioned whether‬

14‬
‭        ‭“Proposition 209 serve(s) merely to push race underground” and‬

15‬
‭        ‭described the admission reading process as “an extreme version of the‬

16‬
‭        ‭American non-conversation about race.” (See‬‭Exhibit‬‭47‬‭.)‬


17‬
‭     ‭89.‬‭Following public outcry over the Varsity Blues scandal, California state‬

18‬
‭        ‭lawmakers commissioned an audit of the University of California’s‬

19‬
‭        ‭admissions practices. The California State Auditor’s 2020‬‭report‬‭found that‬

20‬
‭        ‭UC “has allowed for improper influence in admissions decisions, and it has‬

21‬
‭        ‭not treated applicants fairly or consistently.” Specifically, the audit revealed‬

22‬
‭        ‭that UC Berkeley and UCLA ”admitted thousands of applicants whose‬



  ‭Zhong & SWORD v. Cornell University‬                                          ‭Page‬‭21‬‭of‬‭147‬
1‬
‭        ‭records demonstrated that they were less qualified than other applicants‬

2‬
‭        ‭who were denied admission.” (See‬‭Exhibit 48‬‭).‬


3‬
‭     ‭90.‬‭Admissions and hiring are inherently interconnected and inseparable in‬

4‬
‭        ‭the context of racial discrimination within educational institutions. Faculty‬

5‬
‭        ‭and administrators play a pivotal role in shaping academic standards,‬

6‬
‭        ‭mentoring students, and influencing the culture and policies of a university,‬

7‬
‭        ‭including admissions criteria and practices. A racially biased hiring‬

8‬
‭        ‭process can create and perpetuate a discriminatory culture by fostering an‬

9‬
‭        ‭environment where certain racial perspectives are prioritized over‬

10‬
‭        ‭objective, merit-based considerations. Racially-motivated hiring policies‬

11‬
‭        ‭often have a direct ripple effect on student admissions. It is unrealistic and‬

12‬
‭        ‭unreasonable to assume that a university can operate one process in a‬

13‬
‭        ‭race-conscious manner while keeping the other race-neutral, as both are‬

14‬
‭        ‭fundamentally linked in their goals and execution. Therefore, examining‬

15‬
‭        ‭both admissions and hiring practices is essential to providing a holistic‬

16‬
‭        ‭assessment of whether a university's policies violate constitutional and‬

17‬
‭        ‭statutory protections against racial discrimination.‬


18‬
‭     ‭91.‬‭In a public‬‭talk‬‭to a large audience, Professor Erwin‬‭Chemerinsky, the‬

19‬
‭        ‭Dean of the University of California Berkeley Law School, admitted that his‬

20‬
‭        ‭school systematically considers race in its internal decision-making and‬

21‬
‭        ‭actively conceals this practice (See‬‭Exhibit 49‬‭).‬‭As evidenced in the video,‬

22‬
‭        ‭when discussing the consideration of race in faculty hiring, Mr.‬

23‬
‭        ‭Chemerinsky described and preached the “unstated Affirmative Action”‬



  ‭Zhong & SWORD v. Cornell University‬                                     ‭Page‬‭22‬‭of‬‭147‬
1‬
‭        ‭practiced at UC as follows: “Don’t say that [you are considering the‬

2‬
‭        ‭candidate’s race]. You can think it. You can vote it… Don’t ever articulate‬

3‬
‭        ‭that is what you are doing.” He also said "If I'm ever deposed, I'm going to‬

4‬
‭        ‭deny I said this to you." His statements reveal deliberate intent by senior‬

5‬
‭        ‭university administrators to actively conceal their use of race in‬

6‬
‭        ‭decision-making.‬


7‬
‭     ‭92.‬‭In November 2022,‬‭The New Yorker‬‭staff writer Jay‬‭Caspian Kang‬‭quoted‬

8‬
‭        ‭Mr. Erwin Chemerinsky as follows:‬


9‬
‭              ‭“What colleges and universities will need to do after affirmative action‬

10‬
‭              ‭is eliminated is find ways to achieve diversity that can’t be‬

11‬
‭              ‭documented as violating the Constitution,” Mr. Chemerinsky stated.‬

12‬
‭              ‭“So they can’t have any explicit use of race. They have to make sure‬

13‬
‭              ‭that their admissions statistics don’t reveal any use of race. But they‬

14‬
‭              ‭can use proxies for race.” (See‬‭Exhibit 49‬‭as well.)‬


15‬
‭        ‭This statement is a clear acknowledgment that university officials intend to‬

16‬
‭        ‭bypass constitutional and legal prohibitions on racial discrimination by‬

17‬
‭        ‭employing indirect methods—namely, “proxies for race”—to achieve the‬

18‬
‭        ‭same racial outcomes that explicit race-based policies once facilitated.‬


19‬
‭     ‭93.‬‭The use of racial proxies to achieve racial balancing is unconstitutional. In‬

20‬
‭        ‭Parents Involved in Community Schools v. Seattle School District No. 1‬‭,‬

21‬
‭        ‭551 U.S. 701, 743 (2007), the Supreme Court held that racial balancing is‬

22‬
‭        ‭not a compelling state interest and that the government may not achieve‬



  ‭Zhong & SWORD v. Cornell University‬                                     ‭Page‬‭23‬‭of‬‭147‬
1‬
‭        ‭racial diversity through indirect methods that amount to race-conscious‬

2‬
‭        ‭decision-making. Similarly, in‬‭SFFA v. Harvard‬‭, 600‬‭U.S. 181 (2023), the‬

3‬
‭        ‭Supreme Court reaffirmed that admissions policies designed to achieve‬

4‬
‭        ‭racial diversity by using proxies for race are equally unconstitutional.‬


5‬
‭     ‭94.‬‭The statements made by Mr. Chemerinsky provide strong circumstantial‬

6‬
‭        ‭evidence that senior university administrators are knowingly and‬

7‬
‭        ‭deliberately structuring its admissions policies to evade legal prohibitions‬

8‬
‭        ‭on racial discrimination.‬


9‬
‭     ‭95.‬‭As a law professor, Mr. Chemerinsky must know what he was preaching is‬

10‬
‭        ‭illegal. By his own admission, he clearly knew it was illegal. Yet, he‬

11‬
‭        ‭preached it with a sense of pride and braggadocio. It is worth emphasizing‬

12‬
‭        ‭that Mr. Chemerinsky is the Dean, the top administrator, of UC Berkeley‬

13‬
‭        ‭Law School. Mr. Chemerinsky’s statements happened to be in a public‬

14‬
‭        ‭talk, happened to be captured in video, and happened to be shared on the‬

15‬
‭        ‭web. What is visible to the public must be only the tip of the iceberg. It is‬

16‬
‭        ‭reasonable to infer the preaching and practice of “unstated Affirmative‬

17‬
‭        ‭Action” is widespread in universities’ admissions and hiring process, which‬

18‬
‭        ‭lacks transparency and accountability.‬


19‬
‭     ‭96.‬‭Similar to the 'unstated Affirmative Action' approach advocated by Mr.‬

20‬
‭        ‭Chemerinsky at UC, the University of Washington (UW) implemented this‬

21‬
‭        ‭practice by re-ranking candidates based on race while maintaining an‬

22‬
‭        ‭appearance of neutrality. In 2023, the UW psychology department’s hiring‬




  ‭Zhong & SWORD v. Cornell University‬                                     ‭Page‬‭24‬‭of‬‭147‬
1‬
‭        ‭committee‬‭re-ranked‬‭finalists to prioritize hiring a Black candidate over a‬

2‬
‭        ‭white and an Asian candidate who were originally ranked first and second,‬

3‬
‭        ‭respectively. UW’s‬‭report‬‭concluded that “race was‬‭used as a substantial‬

4‬
‭        ‭factor in the selection of the final candidate and the hiring process.” The‬

5‬
‭        ‭report, which redacts all the names of those involved, suggests that faculty‬

6‬
‭        ‭members tried to hide the extent to which race was considered, including‬

7‬
‭        ‭in the hiring report. “I advise deleting the statement below as it shows that‬

8‬
‭        ‭URM [underrepresented minority] applications were singled out and‬

9‬
‭        ‭evaluated differently than non-URM applications (which is not allowed as‬

10‬
‭        ‭[redacted] noted),” one email read, according to the report. "My inclination‬

11‬
‭        ‭is to hold these meetings only for POC [People of Color] candidates. I'm‬

12‬
‭        ‭also mindful that our Provost is now getting anxious about anything that's‬

13‬
‭        ‭directed to only some identity groups (i.e., they are getting worried about‬

14‬
‭        ‭fallout from the pending Supreme Court affirmative action rulings)," a‬

15‬
‭        ‭person wrote in an email. "My read is that they'll get fearful of litigation and‬

16‬
‭        ‭overcorrect into colorblindness. Maybe our committee can preemptively‬

17‬
‭        ‭think our way around this type of future directive," the faculty member‬

18‬
‭        ‭wrote. (See Exhibit 53 in case 2:25-cv-00348 in the U.S. District Court for‬

19‬
‭        ‭the Western District of Washington.) A report by the National Association‬

20‬
‭        ‭of Scholars‬‭revealed‬‭that the University of Washington’s‬‭Associate Vice‬

21‬
‭        ‭Provost, the Dean of the College of Arts and Sciences, and the Dean of‬

22‬
‭        ‭Natural Sciences played major roles in implementing the race-based hiring‬

23‬
‭        ‭directive. However, after the exposure, they attempted to shift blame‬




  ‭Zhong & SWORD v. Cornell University‬                                     ‭Page‬‭25‬‭of‬‭147‬
1‬
‭        ‭entirely onto the Psychology Department. This case provides a concrete‬

2‬
‭        ‭example of how UW’s senior administrators prioritized race in hiring,‬

3‬
‭        ‭knowingly violating the law. The incident only came to light probably due to‬

4‬
‭        ‭a public records request from an external group. Given the pervasive‬

5‬
‭        ‭culture of racial preference, it is reasonable to infer that this was not an‬

6‬
‭        ‭isolated occurrence.‬


7‬
‭     ‭97.‬‭Senior university administrators not only preach and practice “unstated‬

8‬
‭        ‭Affirmative Action”, they also actively‬‭persecute‬‭those who advocate for‬

9‬
‭        ‭academic excellence over identity politics. From 2022 to 2024, Professor‬

10‬
‭        ‭Perry Link, Chancellorial Chair for Teaching Across Disciplines at UC‬

11‬
‭        ‭Riverside and a leading authority on modern and contemporary Chinese‬

12‬
‭        ‭literature and culture, faced disciplinary action after expressing concerns‬

13‬
‭        ‭during a faculty search committee meeting about prioritizing a Black‬

14‬
‭        ‭candidate’s race over qualifications. His comments, which he stated were‬

15‬
‭        ‭intended to caution against elevating race as the “overriding criterion,”‬

16‬
‭        ‭were reported to university officials without his knowledge. Professor Link‬

17‬
‭        ‭was subsequently removed from the search committee and subjected to a‬

18‬
‭        ‭prolonged disciplinary process, including hearings resembling a trial,‬

19‬
‭        ‭where termination was suggested as a penalty. Although a faculty‬

20‬
‭        ‭committee unanimously found him innocent of the charges, Chancellor‬

21‬
‭        ‭Kim Wilcox issued a formal‬‭letter of censure‬‭, overriding‬‭the committee’s‬

22‬
‭        ‭recommendation (See‬‭Exhibit 50‬‭). Professor Perry Link‬‭was accused of‬

23‬
‭        ‭making racist comments during the hiring process but was not informed of‬




  ‭Zhong & SWORD v. Cornell University‬                                     ‭Page‬‭26‬‭of‬‭147‬
1‬
‭        ‭the specific remarks deemed problematic until nearly a year later. UC‬

2‬
‭        ‭Riverside eventually acquitted him of all charges but allegedly threatened‬

3‬
‭        ‭to penalize him if he spoke publicly about the ordeal. Despite UC’s threats,‬

4‬
‭        ‭Professor Link, a distinguished scholar at age 80, courageously made the‬

5‬
‭        ‭incident‬‭public (See‬‭Exhibit 51‬‭). If UC has attempted‬‭to silence a‬

6‬
‭        ‭prominent tenured professor, it is reasonable to infer the tremendous‬

7‬
‭        ‭pressure any professor, non-tenured administrator or staff would face if‬

8‬
‭        ‭they were to speak up. Therefore it is reasonable to infer that numerous‬

9‬
‭        ‭similar cases exist at UC and other universities in which victims chose to‬

10‬
‭        ‭remain silent, fearing retaliation that could jeopardize their careers and‬

11‬
‭        ‭livelihoods. This incident highlights senior university administrators'‬

12‬
‭        ‭preoccupation with immutable characteristics such as race, in clear‬

13‬
‭        ‭violation of the Constitution. It also demonstrates the great lengths to‬

14‬
‭        ‭which they go to silence any dissidents or whistleblowers. Furthermore, it‬

15‬
‭        ‭clearly illustrates the importance of exercising the chilling effect doctrine‬

16‬
‭        ‭when it comes to the legal standing in lawsuits concerning universities’‬

17‬
‭        ‭student admissions and faculty hiring.‬


18‬
‭     ‭98.‬‭Professor Perry Link has agreed to testify when the lawsuit filed by‬

19‬
‭        ‭Stanley, Nan and SWORD against the University of California (Case No.‬

20‬
‭        ‭2:25-cv-0495 in the U.S. District Court for the Eastern District of California)‬

21‬
‭        ‭goes to trial.‬


22‬
‭     ‭99.‬‭It is noteworthy that California and Washington have had state laws‬

23‬
‭        ‭explicitly prohibiting racial preference or discrimination in public education‬



  ‭Zhong & SWORD v. Cornell University‬                                       ‭Page‬‭27‬‭of‬‭147‬
1‬
‭        ‭since 1996 and 1998, respectively, through Proposition 209 and Initiative‬

2‬
‭        ‭200. Nevertheless, both the University of California (UC) and the‬

3‬
‭        ‭University of Washington (UW) appear to have disregarded the will of‬

4‬
‭        ‭voters and the rule of law. The entrenched culture of legal evasion within‬

5‬
‭        ‭higher education institutions suggests that many universities continue to‬

6‬
‭        ‭operate as though they are above the law.‬


7‬
‭     ‭100.‬ ‭Both the University of Michigan and the University of California are‬

8‬
‭        ‭constitutionally prohibited from using racial preferences in student‬

9‬
‭        ‭admissions. Nevertheless, both institutions have‬‭demonstrated‬‭a clear‬

10‬
‭        ‭desire to circumvent these bans (See‬‭Exhibit 52‬‭).‬‭Reports by Professor‬

11‬
‭        ‭Robert Mare and the California State Auditor uncovered major issues in‬

12‬
‭        ‭UC’s admissions practices. After Michigan’s Proposal 2 passed in 2006,‬

13‬
‭        ‭UM hosted a 2-day workshop featuring UC administrators, who shared‬

14‬
‭        ‭their strategies for navigating California’s Proposition 209, enacted in‬

15‬
‭        ‭1996. UC, UW and UM’s actions strongly suggest how other universities‬

16‬
‭        ‭may be operating. This raises concerns that Cornell is following Mr.‬

17‬
‭        ‭Chemerinsky’s advice to “just do it without leaving any paper trail.” Such‬

18‬
‭        ‭tactics could make it difficult for Plaintiffs to obtain direct evidence of‬

19‬
‭        ‭discriminatory intent against Asian-American applicants. In this context,‬

20‬
‭        ‭Plaintiffs’ claims should be assessed based on whether Cornell’s‬

21‬
‭        ‭admissions policies create a discriminatory impact on Asian-American‬

22‬
‭        ‭applicants, either individually or collectively. As Mr. Chemerinsky himself‬

23‬
‭        ‭acknowledged, statistical analysis is key to identifying racial discrimination‬




  ‭Zhong & SWORD v. Cornell University‬                                       ‭Page‬‭28‬‭of‬‭147‬
1‬
‭        ‭in admissions. Plaintiffs intend to conduct such an analysis during the‬

2‬
‭        ‭discovery phase of this lawsuit.‬


3‬
‭     ‭D. Cornell’s Discriminatory Hiring‬


4‬
‭     ‭101.‬ ‭On July 16, 2020, Cornell President Martha Pollack issued a‬‭statement‬

5‬
‭        ‭that “we must embed anti-racism across” education and research (See‬

6‬
‭        ‭Exhibit 53‬‭). As of March 19, 2025, Cornell still requires‬‭diversity‬

7‬
‭        ‭statements in faculty hiring (See‬‭Exhibit 54‬‭). It‬‭raises the question whether‬

8‬
‭        ‭Cornell is primarily an academic institution or a political organization.‬


9‬
‭     ‭102.‬ ‭In September 2020, a faculty coalition at Cornell University publicly‬

10‬
‭        ‭demanded‬‭race-based hiring and promotions (See‬‭Exhibit 55‬‭), a practice‬

11‬
‭        ‭that would constitute a clear violation of Title VII of the Civil Rights Act and‬

12‬
‭        ‭42 U.S.C. § 1981.‬


13‬
‭     ‭103.‬ ‭Like the “unstated Affirmative Action” described by Mr. Chemerinsky at‬

14‬
‭        ‭UC, Cornell’s hiring process appears to be driven by identity while‬

15‬
‭        ‭maintaining a façade of neutrality.‬


16‬
‭     ‭104.‬ ‭On May 22, 2024, according to‬‭Cornell Free Speech‬‭Alliance‬‭,‬

17‬
‭        ‭whistleblowers‬‭revealed‬‭how DEI Statements are used‬‭as a litmus test to‬

18‬
‭        ‭eliminate qualified faculty in the hiring process. About 21% of the‬

19‬
‭        ‭candidates were screened out solely based on DEI criteria. Unlawful‬

20‬
‭        ‭race-based hiring preferences were applied throughout the entire hiring‬

21‬
‭        ‭process to eliminate candidates who had less favorable demographic‬




  ‭Zhong & SWORD v. Cornell University‬                                       ‭Page‬‭29‬‭of‬‭147‬
1‬
‭        ‭characteristics (See‬‭Exhibit 56‬‭). Such practices are discriminatory and‬

2‬
‭        ‭constitute violations of both federal and New York State‬

3‬
‭        ‭Anti-Discrimination and Employment Law.‬


4‬
‭     ‭105.‬ ‭Under this hiring system, even a Nobel Prize winner might not be‬

5‬
‭        ‭considered if they prioritized academic research over diversity initiatives.‬


6‬
‭     ‭106.‬ ‭It is reasonable to infer that rejected applicants would recognize that‬

7‬
‭        ‭the public spectacle of bringing a lawsuit against Cornell would : i) almost‬

8‬
‭        ‭surely prevent such applicants from being hired by any other leading‬

9‬
‭        ‭university, almost all of which engage in similarly discriminatory practices;‬

10‬
‭        ‭and ii) be personally and professionally ostracized by the discriminatory‬

11‬
‭        ‭cultures existing at most leading US universities, research institutions, and‬

12‬
‭        ‭scholarly publications. For these reasons and to avoid self-harm, any‬

13‬
‭        ‭aspiring professor would be loath to become a plaintiff in such legal action‬

14‬
‭        ‭against Cornell – regardless if such litigation might be won or lost. Once‬

15‬
‭        ‭again, it clearly illustrates the importance of exercising the chilling effect‬

16‬
‭        ‭doctrine when it comes to the legal standing in lawsuits concerning‬

17‬
‭        ‭universities’ student admissions and faculty hiring.‬


18‬
‭     ‭107.‬ ‭In an‬‭open letter‬‭dated Jan 23, 2024, Jon A. Lindseth, a member of‬

19‬
‭        ‭Cornell Board of Trustees (Emeritus) and Counselor to the President,‬

20‬
‭        ‭called for the resignation of Cornell’s president and provost, citing that‬

21‬
‭        ‭“Reports have been made of Cornell’s hiring faculty based on race rather‬

22‬
‭        ‭than academic merit (even in the pure sciences).” He also called to “return‬




  ‭Zhong & SWORD v. Cornell University‬                                      ‭Page‬‭30‬‭of‬‭147‬
1‬
‭        ‭Cornell to ‘merit based’ rather than ‘politically based’ or ‘identity based’‬

2‬
‭        ‭hiring and admission preferences.” (See‬‭Exhibit 57‬‭.)‬


3‬
‭     ‭E. Cornell’s Motive and Intent for Racial Balancing its Student Body‬


4‬
‭     ‭108.‬ ‭The‬‭amicus brief‬‭that Cornell filed jointly with other universities to the‬

5‬
‭        ‭US Supreme Court in‬‭SFFA v. Harvard‬‭stated that “‬‭Amici’s‬‭experience has‬

6‬
‭        ‭demonstrated that the optimal means of creating a diverse student‬

7‬
‭        ‭body—and thereby achieving Amici’s educational objectives—involves a‬

8‬
‭        ‭limited consideration of race and ethnicity in admissions.‬‭” (See‬‭Exhibit 58‬‭).‬

9‬
‭        ‭The brief fails to define the criteria of a diverse student body—a point‬

10‬
‭        ‭Plaintiffs intend to explore during discovery. Nevertheless, the amicus brief‬

11‬
‭        ‭reveals Cornell’s intent to increase enrollment for certain racial groups, a‬

12‬
‭        ‭motive that implicates strict scrutiny under constitutional law.‬


13‬
‭     ‭109.‬ ‭On June 29, 2023, following the Supreme Court’s ruling in‬‭SFFA v.‬

14‬
‭        ‭Harvard‬‭, Cornell President Martha E. Pollack stated‬‭that “Cornell is‬

15‬
‭        ‭disappointed by the Supreme Court of the United States’ decision today”‬

16‬
‭        ‭(See‬‭Exhibit 59‬‭). This statement openly signaled the university’s continued‬

17‬
‭        ‭desire to consider race in admissions, despite the Court’s decision. While‬

18‬
‭        ‭President Pollack claims Cornell “to be a university where ‘any person can‬

19‬
‭        ‭find instruction in any study’”, Plaintiffs would like to question President‬

20‬
‭        ‭Pollack whether that applies to highly qualified Asian-American applicants‬

21‬
‭        ‭like Stanley.‬




  ‭Zhong & SWORD v. Cornell University‬                                       ‭Page‬‭31‬‭of‬‭147‬
1‬
‭     ‭110.‬ ‭The Equal Protection Clause of the Fourteenth Amendment prohibits‬

2‬
‭        ‭states from denying any person “the equal protection of the laws.” The‬

3‬
‭        ‭Clause’s “central purpose is to prevent the States from purposefully‬

4‬
‭        ‭discriminating between individuals on the basis of race.” See‬‭Shaw v.‬

5‬
‭        ‭Reno‬‭, 509 U.S. 630, 642 (1993). Thus, a state law‬‭or policy that‬

6‬
‭        ‭discriminates on the basis of race is subject to strict scrutiny, regardless of‬

7‬
‭        ‭its intended beneficiaries. See‬‭Adarand Constructors, Inc. v. Peña‬‭, 515‬

8‬
‭        ‭U.S. 200, 227 (1995).‬

9‬
‭     ‭111.‬ ‭As the Supreme Court noted in‬‭SFFA v. Harvard‬‭, 143 S. Ct. 2141,‬

10‬
‭        ‭2169 (2023), “College admissions are zero-sum. A benefit provided to‬

11‬
‭        ‭some applicants but not to others necessarily advantages the former‬

12‬
‭        ‭group at the expense of the latter.”‬‭The distinction‬‭between preferential‬

13‬
‭        ‭treatment and adverse impact is illusory—both actions are inherently‬

14‬
‭        ‭racially motivated and inseparable, representing merely different ways of‬

15‬
‭        ‭describing the same net discriminatory conduct. In a zero-sum situation,‬

16‬
‭        ‭when assessing whether a policy constitutes racial discrimination, courts‬

17‬
‭        ‭should focus on the presence of racial intent, regardless of whether that‬

18‬
‭        ‭intent manifests as preferential treatment or adverse impact. As the‬

19‬
‭        ‭Supreme Court affirmed in‬‭SFFA v. Harvard‬‭, “[W]hat‬‭cannot be done‬

20‬
‭        ‭directly cannot be done indirectly. The Constitution deals with substance,‬

21‬
‭        ‭not shadows," and the prohibition against racial discrimination is "levelled‬

22‬
‭        ‭at the thing, not the name."‬‭Cummings v. Missouri‬‭,‬‭71 U.S. (4 Wall.) 277,‬

23‬
‭        ‭325, 18 L.Ed. 356 (1867).‬




  ‭Zhong & SWORD v. Cornell University‬                                     ‭Page‬‭32‬‭of‬‭147‬
1‬
‭     ‭F. Cornell’s Action for Racial Balancing its Admissions‬


2‬
‭     ‭112.‬ ‭In addition to its evident motive and intent for racial balancing, Cornell‬

3‬
‭        ‭possesses the means and opportunity to manipulate the racial‬

4‬
‭        ‭composition of its student body under its current “holistic” admissions‬

5‬
‭        ‭framework, which lacks transparency, independent third-party oversight‬

6‬
‭        ‭and accountability. Indeed, Cornell’s intent is matched by its actions.‬


7‬
‭     ‭113.‬ ‭According to the 2020 U.S. Census, the New York state’s Asian‬

8‬
‭        ‭population grew by 36.1% over the prior decade, making it the‬

9‬
‭        ‭fastest-growing ethnic group in the state (See‬‭Exhibit‬‭60‬‭). Similarly, the‬

10‬
‭        ‭Asian population in the U.S. grew by 36% from 2010 to 2020, making it‬

11‬
‭        ‭also the fastest-growing ethnic group in the nation (See‬‭Exhibit 60‬‭as‬

12‬
‭        ‭well). It is reasonable to infer that the Asian population in the New York‬

13‬
‭        ‭state and the U.S. continued to grow at a similar pace after 2020.‬

14‬
‭        ‭However, at Cornell, Asian admits have trended flat from 2018 through‬

15‬
‭        ‭2023. The percentage of Asian students enrolled was 19.1%, 20.1%,‬

16‬
‭        ‭18.1%, 19.1%, 18.7%, 20.1% for those years, respectively. (See‬‭Exhibit‬

17‬
‭        ‭61‬‭.)‬


18‬
‭     ‭114.‬ ‭The gap between Asian population growth and admission rates‬

19‬
‭        ‭strongly suggests systemic discrimination. As the Court explained in‬‭Reno‬

20‬
‭        ‭v. Bossier Parish School Board‬‭, 520 U.S. 471, 487‬‭(1997), the natural‬

21‬
‭        ‭consequences of an action often provide probative evidence of intent.‬




  ‭Zhong & SWORD v. Cornell University‬                                       ‭Page‬‭33‬‭of‬‭147‬
1‬
‭        ‭Here, the persistent adverse impact on Asian-American applicants‬

2‬
‭        ‭indicates a racially motivated policy, despite Cornell’s denials.‬


3‬
‭     ‭115.‬ ‭Even before the Supreme Court’s 2023 ruling in‬‭SFFA‬‭v. Harvard‬‭, the‬

4‬
‭        ‭use of race in student admissions, as permitted by Justice Kennedy’s‬

5‬
‭        ‭majority opinion in‬‭Fisher II‬‭(2016), was limited‬‭to considering race as a‬

6‬
‭        ‭“factor of a factor of a factor” and within the context that “the contention‬

7‬
‭        ‭that the University discriminates against Asian-Americans is ‘entirely‬

8‬
‭        ‭unsupported by evidence in the record or empirical data’” (See‬‭Exhibit 62‬‭).‬

9‬
‭        ‭However, the rejection of Stanley in 2023 casts serious doubt on whether‬

10‬
‭        ‭Cornell’s use of race adhered to the narrow boundaries established by‬

11‬
‭        ‭Fisher II‬‭.‬


12‬
‭     ‭116.‬ ‭For the first admission cycle after‬‭SFFA v. Harvard,‬‭Cornell’s Asian‬

13‬
‭        ‭enrollment grew from 19.2% (2018-2023 average. See‬‭Exhibit 61‬‭as well.)‬

14‬
‭        ‭to 22.4% in 2024, an increase of 16.7%. The magnitude of the increase‬

15‬
‭        ‭further raises serious doubt on whether Cornell’s use of race in and before‬

16‬
‭        ‭2023 adhered to the narrow boundaries established by‬‭Fisher II‬‭as a‬

17‬
‭        ‭“factor of a factor of a factor”.‬


18‬
‭     ‭117.‬ ‭Cornell insists on implementing both “holistic reviews” and a‬

19‬
‭        ‭“test-recommended” admissions policy. According to Cornell‬‭Office of‬

20‬
‭        ‭Undergraduate Admissions‬‭, “‬‭Cornell will be test-recommended‬‭for‬

21‬
‭        ‭students applying in fall 2024 to enroll for fall 2025. This means that‬

22‬
‭        ‭submitting test scores is not required but recommended for applicants to‬




  ‭Zhong & SWORD v. Cornell University‬                                     ‭Page‬‭34‬‭of‬‭147‬
1‬
‭        ‭the College of Arts & Sciences; Cornell Engineering; College of Human‬

2‬
‭        ‭Ecology; Cornell Jeb E. Brooks School of Public Policy; and School of‬

3‬
‭        ‭Industrial and Labor Relations.‬‭” However, this position‬‭is inherently‬

4‬
‭        ‭contradictory. A review cannot be truly holistic if it deliberately excludes‬

5‬
‭        ‭objective measures like standardized tests, especially for STEM‬

6‬
‭        ‭applicants where such metrics are crucial for assessing academic‬

7‬
‭        ‭preparedness. This decision appears to be a calculated move to‬

8‬
‭        ‭compromise intellectual honesty and academic integrity, potentially‬

9‬
‭        ‭facilitating the concealment of discriminatory practices against‬

10‬
‭        ‭Asian-American applicants. Notably, leading institutions like MIT,‬

11‬
‭        ‭Dartmouth, Yale, Brown, Harvard, Caltech, and the University of Texas at‬

12‬
‭        ‭Austin have reinstated standardized testing, further highlighting the‬

13‬
‭        ‭questionable nature of Cornell’s “test-recommended” policy post-COVID.‬

14‬
‭        ‭These circumstances necessitate legal scrutiny of Cornell’s policy, its‬

15‬
‭        ‭underlying motivations, its disparate impact on Asian-American applicants,‬

16‬
‭        ‭and whether Cornell continues to merit the traditional judicial deference‬

17‬
‭        ‭granted to bona fide academic institutions.‬


18‬
‭     ‭118.‬ ‭In 2023, the year Stanley applied in, Cornell enrolled 214 African‬

19‬
‭        ‭American students (See‬‭Exhibit 63‬‭as well). The 25th percentile SAT‬

20‬
‭        ‭scores for Cornell students were 1420 (See‬‭Exhibit 64‬‭as well). Nationally,‬

21‬
‭        ‭225,954 African American students took the SAT in 2023, with‬

22‬
‭        ‭approximately 1% (roughly 2,259 students) scoring in the 1400–1600‬

23‬
‭        ‭range (See‬‭Exhibit 65‬‭). If Cornell’s African American enrollees reflected‬




  ‭Zhong & SWORD v. Cornell University‬                                     ‭Page‬‭35‬‭of‬‭147‬
1‬
‭        ‭the general SAT distribution of Cornell students, approximately 161‬

2‬
‭        ‭(214*75%) of them would have scored above the 25th percentile of 1420,‬

3‬
‭        ‭with an even larger number exceeding 1400. This would mean Cornell‬

4‬
‭        ‭enrolled about 7.1% (161/2259) of the nation’s top African American SAT‬

5‬
‭        ‭performers.‬


6‬
‭     ‭119.‬ ‭Using this analysis, the estimated percentage of national top scorers‬

7‬
‭        ‭enrolled at Cornell is approximately 7.1% for African Americans, 1.0% for‬

8‬
‭        ‭Asian Americans, 4.1% for Hispanic Americans, and 1.9% for White‬

9‬
‭        ‭students (See‬‭Exhibit 66‬‭).‬


10‬
‭     ‭120.‬ ‭Given the geographic distribution of high-achieving students, such a‬

11‬
‭        ‭high concentration of top scorers from certain racial groups appears‬

12‬
‭        ‭statistically improbable. These figures suggest that Asian-American‬

13‬
‭        ‭applicants face significantly higher SAT score thresholds for admission‬

14‬
‭        ‭compared to other racial groups. While SAT scores are not the sole‬

15‬
‭        ‭measure of merit, this statistical irregularity raises serious concerns about‬

16‬
‭        ‭whether Cornell’s admissions policies comply with constitutional and legal‬

17‬
‭        ‭prohibitions or limits against racial preferences.‬


18‬
‭     ‭121.‬ ‭Cornell does not publish the number of National Merit Finalists in its‬

19‬
‭        ‭admissions data. If such information were available, it would help evaluate‬

20‬
‭        ‭whether rejecting Stanley—a National Merit Finalist—was reasonable.‬


21‬
‭     ‭122.‬ ‭Given that Cornell is or was not conducting itself as a bona fide‬

22‬
‭        ‭academic institution for student admissions or faculty hiring, any traditional‬



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1‬
‭        ‭judicial deference afforded to academic institutions should not apply in‬

2‬
‭        ‭lawsuits concerning student admissions or faculty hiring at Cornell.‬


3‬
‭     ‭123.‬ ‭Studies comparing the academic qualifications of admitted students by‬

4‬
‭        ‭race fail to fully capture the extent of racial discrimination faced by‬

5‬
‭        ‭Asian-American applicants. By rejecting highly qualified Asian-American‬

6‬
‭        ‭applicants like Stanley, Cornell artificially narrows the academic‬

7‬
‭        ‭qualification gap between admitted students of different racial groups. As‬

8‬
‭        ‭a matter of mathematical fact, the more highly qualified Asian-American‬

9‬
‭        ‭applicants the university rejects, the smaller the observed qualification gap‬

10‬
‭        ‭among admitted students becomes. To accurately assess the extent of‬

11‬
‭        ‭racial discrimination, it is necessary to compare not only the admitted‬

12‬
‭        ‭Asian-American students but also the rejected Asian-American applicants‬

13‬
‭        ‭against admitted students from other racial groups. However, limitations in‬

14‬
‭        ‭the publicly available Cornell admissions data currently prevent such an‬

15‬
‭        ‭analysis. The plaintiffs intend to pursue this essential data comparison‬

16‬
‭        ‭during the discovery phase of this lawsuit.‬


17‬
‭     ‭124.‬ ‭The argument that Asian Americans are over-represented in Cornell’s‬

18‬
‭        ‭student body relative to the general population does not negate claims of‬

19‬
‭        ‭discrimination. Equal protection requires that individuals be treated as‬

20‬
‭        ‭individuals, not as members of a racial class. See‬‭Miller v. Johnson‬‭, 515‬

21‬
‭        ‭U.S. 900, 911 (1995). Even if aggregate Asian enrollment remains‬

22‬
‭        ‭relatively high, systemic bias may suppress their numbers below what‬

23‬
‭        ‭they would be in a race-neutral system. “[I]nvidious discrimination does‬



  ‭Zhong & SWORD v. Cornell University‬                                     ‭Page‬‭37‬‭of‬‭147‬
1‬
‭        ‭not become less so because the discrimination accomplished is of a‬

2‬
‭        ‭lesser magnitude.” See‬‭Personnel Administrator of Massachusetts v.‬

3‬
‭        ‭Feeney‬‭, 442 U.S. 256, 277 (1979).‬


4‬
‭     ‭125.‬ ‭A university policy that amounts to racial balancing is “patently‬

5‬
‭        ‭unconstitutional.”‬‭Grutter v. Bollinger‬‭, 539 U.S.‬‭306, 329 (2003). Racial‬

6‬
‭        ‭balancing seeks to ensure a specified percentage of a racial group within‬

7‬
‭        ‭the student body merely due to race or ethnicity.‬‭Id.‬‭Courts have‬

8‬
‭        ‭consistently rejected proportional representation as a constitutional‬

9‬
‭        ‭justification for race-based admissions. See‬‭Id.‬‭at‬‭343.‬


10‬
‭     ‭126.‬ ‭The Second Circuit’s 2024 decision in‬‭Chinese American Citizens‬

11‬
‭        ‭Alliance of Greater New York (CACAGNY) v. Adams‬‭supports‬‭this case.‬

12‬
‭        ‭The court held that a facially neutral policy driven by racial motives‬

13‬
‭        ‭violates equal protection, even if aggregate enrollment improves. The‬

14‬
‭        ‭ruling states “if discriminatory intent is proven, a negative effect or harm‬

15‬
‭        ‭from that discriminatory policy on individual Asian-American students‬

16‬
‭        ‭applying to the SHSs [Specialized High Schools] would be sufficient to‬

17‬
‭        ‭trigger strict scrutiny review”. The court further held that a policy or a‬

18‬
‭        ‭program “is not immunized from strict scrutiny because it underperforms in‬

19‬
‭        ‭an unconstitutional mission with respect to a targeted racial group in the‬

20‬
‭        ‭aggregate.” Therefore, university policies aiming to suppress Asian‬

21‬
‭        ‭enrollment—whether or not Asian Americans are over-represented—are‬

22‬
‭        ‭subject to strict scrutiny and won't survive it.‬




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1‬
‭     ‭127.‬ ‭Moreover,‬‭CACAGNY‬‭rejected the defense that admitting students to‬

2‬
‭        ‭any school within a system negates discrimination claims. The Second‬

3‬
‭        ‭Circuit Court stated that denying a student access to their preferred‬

4‬
‭        ‭institution due to race is actionable. Similarly, admitting Asian-American‬

5‬
‭        ‭students to less selective Cornell campuses does not absolve more‬

6‬
‭        ‭selective campuses from discrimination claims.‬


7‬
‭     ‭128.‬ ‭In‬‭CACAGNY‬‭, the Second Circuit Court stated that “Applying Supreme‬

8‬
‭        ‭Court precedent, we have generally recognized three types of‬

9‬
‭        ‭discriminatory laws: (1) a facially discriminatory law or policy that‬

10‬
‭        ‭expressly classifies individuals on the basis of race; (2) a facially neutral‬

11‬
‭        ‭law that is enforced in a discriminatory fashion; and (3) a facially neutral‬

12‬
‭        ‭law that was adopted with discriminatory intent and resulted in a‬

13‬
‭        ‭discriminatory effect.‬‭See Chabad Lubavitch of Litchfield‬‭Cnty., Inc. v.‬

14‬
‭        ‭Litchfield Hist. Dist. Comm'n,‬‭768 F.3d 183, 199 (2d‬‭Cir. 2014).”‬


15‬
‭     ‭129.‬ ‭In this case, at least two types of discriminatory policies and practices‬

16‬
‭        ‭identified by the Second Circuit Court are evident:‬


17‬
‭            ‭a.‬ ‭Discriminatory enforcement‬‭: Cornell’s absurd and incongruous‬

18‬
‭                ‭admission outcomes strongly indicate that Cornell exercises its‬

19‬
‭                ‭admissions policies in a discriminatory fashion.‬

20‬
‭            ‭b.‬ ‭Discriminatory intent and effect:‬‭The pervasive culture‬‭of‬

21‬
‭                ‭"unstated affirmative action" at universities underscores‬

22‬
‭                ‭discriminatory intent, with substantial evidence of its adverse‬




  ‭Zhong & SWORD v. Cornell University‬                                     ‭Page‬‭39‬‭of‬‭147‬
1‬
‭                ‭impact on Asian-American applicants, both individually and‬

2‬
‭                ‭collectively.‬


3‬
‭        ‭These actions constitute violations of the Equal Protection Clause of the‬

4‬
‭        ‭Fourteenth Amendment, Title VI of the Civil Rights Act of 1964.‬


5‬
‭     ‭G. Cornell Ignoring Complaints‬


6‬
‭     ‭130.‬ ‭Cornell officials have ignored complaints about questionable‬

7‬
‭        ‭admissions outcomes and allegations of racial discrimination, reflecting a‬

8‬
‭        ‭broader lack of transparency and accountability in their admissions‬

9‬
‭        ‭process. On January 31, 2025, Nan contacted the Cornell Board of‬

10‬
‭        ‭Trustees regarding Stanley’s admission results, requesting an‬

11‬
‭        ‭investigation. As of this filing, they have not responded.‬


12‬
‭     ‭131.‬ ‭This mirrors the University of California’s prolonged refusal to engage‬

13‬
‭        ‭with Nan, who sought dialogue for over a year before filing a lawsuit‬

14‬
‭        ‭against UC and the U.S. Department of Education on February 11, 2025,‬

15‬
‭        ‭in the U.S. District Court for the Eastern District of California (Case No.‬

16‬
‭        ‭2:25-cv-0495).‬


17‬
‭     ‭132.‬ ‭The denial of Stanley’s application to Cornell—combined with Cornell’s‬

18‬
‭        ‭complete failure to even acknowledge the issue—cannot be dismissed as‬

19‬
‭        ‭mere random error. Rather, these actions reveal a pattern of systemic bias‬

20‬
‭        ‭and deliberate indifference, suggesting malice toward Stanley and, by‬

21‬
‭        ‭extension, other similarly situated Asian-American applicants. While it is‬




  ‭Zhong & SWORD v. Cornell University‬                                    ‭Page‬‭40‬‭of‬‭147‬
1‬
‭        ‭true that Google’s job offer came after Cornell’s rejection—meaning‬

2‬
‭        ‭Cornell could not have foreseen that Google would recognize Stanley’s‬

3‬
‭        ‭skills had already reached the Ph.D. level—the fundamental issue‬

4‬
‭        ‭remains: the technical achievements included in Stanley’s Cornell‬

5‬
‭        ‭applications were substantially the same as those sent to Google. While‬

6‬
‭        ‭Google found Stanley's achievements sufficient to consider him for a‬

7‬
‭        ‭Ph.D.-level position, Cornell, in contrast, deemed him unqualified for‬

8‬
‭        ‭undergraduate admission. This stark contrast underscores a systemic‬

9‬
‭        ‭barrier that profoundly affects Asian-American applicants’ experiences in‬

10‬
‭        ‭college admissions. Even when their qualifications reach the Ph.D. level,‬

11‬
‭        ‭they may still be denied undergraduate admission. This fosters a‬

12‬
‭        ‭pervasive sense of helplessness—the belief that the system is rigged to‬

13‬
‭        ‭reject you regardless of your merits—that contributes significantly to the‬

14‬
‭        ‭mental health challenges within the Asian-American youth community.‬


15‬
‭     ‭133.‬ ‭This case echoes the dark legacy of the Chinese Exclusion Act of‬

16‬
‭        ‭1882—a shameful chapter in our nation's history for which Congress‬

17‬
‭        ‭formally apologized in June 2012. Disturbingly, as of the filing of this‬

18‬
‭        ‭lawsuit—after Cornell became aware of Google’s assessment of Stanley’s‬

19‬
‭        ‭skills—Cornell still refuses to engage in any meaningful discussion about‬

20‬
‭        ‭his applications, which only compounded the emotional distress Stanley‬

21‬
‭        ‭and Nan have endured.‬




  ‭Zhong & SWORD v. Cornell University‬                                    ‭Page‬‭41‬‭of‬‭147‬
1‬
‭     ‭H. Lack of Response by Government Officials‬


2‬
‭     ‭134.‬ ‭Stanley’s mother filed a civil rights complaint with the Office for Civil‬

3‬
‭        ‭Rights (OCR) at the U.S. Department of Education. However, the OCR‬

4‬
‭        ‭dismissed the case after misinterpreting her email, relying on reasoning‬

5‬
‭        ‭that directly contradicted her intended meaning. When she pointed out the‬

6‬
‭        ‭misunderstanding, the OCR refused to reopen the case, stating it had‬

7‬
‭        ‭been closed. The official dismissal letter cited a rationale the OCR knew to‬

8‬
‭        ‭be false. Despite her repeated requests to correct the letter and remove‬

9‬
‭        ‭the inaccurate reasoning, the OCR declined to make any changes, even‬

10‬
‭        ‭after she escalated the matter. (For the full record of email exchanges with‬

11‬
‭        ‭the OCR, see Exhibit 75 in case 2:25-cv-0495 in the U.S. District Court for‬

12‬
‭        ‭the Eastern District of California.) OCR’s failure to enforce civil rights laws‬

13‬
‭        ‭has let the direct harm to Stanley and other Asian-American applicants‬

14‬
‭        ‭persist.‬

15‬
‭     ‭135.‬ ‭Nan also raised his concerns with California Assemblymember Marc‬

16‬
‭        ‭Berman, mentioning that hundreds of his constituents were deeply‬

17‬
‭        ‭concerned about UC’s admissions practices. Despite several email‬

18‬
‭        ‭exchanges, Mr. Berman did not respond substantively. (For the full record‬

19‬
‭        ‭of email exchanges with Mr. Berman and his staff, see Exhibit 76 in case‬

20‬
‭        ‭2:25-cv-0495 in the U.S. District Court for the Eastern District of‬

21‬
‭        ‭California.)‬

22‬
‭     ‭136.‬ ‭In November 2023, Nan organized a petition that gathered over 4,000‬

23‬
‭        ‭endorsements for letters expressing concerns about UC admissions.‬




  ‭Zhong & SWORD v. Cornell University‬                                      ‭Page‬‭42‬‭of‬‭147‬
1‬
‭        ‭These letters were sent to Governor Gavin Newsom and Lt. Governor‬

2‬
‭        ‭Eleni Kounalakis, both of whom serve as ex officio Regents of the‬

3‬
‭        ‭University of California. Neither replied. (For the letters, see Exhibit 77 and‬

4‬
‭        ‭Exhibit 78 in case 2:25-cv-0495 in the U.S. District Court for the Eastern‬

5‬
‭        ‭District of California.)‬

6‬
‭     ‭137.‬ ‭Since Plaintiffs were unable to get government officials to engage in‬

7‬
‭        ‭California, where they are residents and taxpayers, they have little reason‬

8‬
‭        ‭to expect assistance from officials for admissions issues at a private‬

9‬
‭        ‭university in New York. As a result, litigation remains the only viable‬

10‬
‭        ‭option.‬


11‬
‭     ‭I. Legal Basis‬


12‬
‭     ‭138.‬ ‭The Supreme Court’s decision in‬‭SFFA v. Harvard‬‭unequivocally‬

13‬
‭        ‭established that racial discrimination in college admissions is‬

14‬
‭        ‭unconstitutional. Even before this decision, the Court’s ruling in‬‭Fisher II‬

15‬
‭        ‭had already imposed strict limitations, allowing race to be considered only‬

16‬
‭        ‭as “a factor of a factor of a factor” in admissions decisions.‬


17‬
‭     ‭139.‬ ‭Cornell’s racial discriminatory admission policies and practices violate‬

18‬
‭        ‭the Equal Protection Clause of the Fourteenth Amendment to the United‬

19‬
‭        ‭States Constitution.‬


20‬
‭     ‭140.‬ ‭Cornell’s racial discriminatory admissions policies and practices also‬

21‬
‭        ‭violate Title VI of the Civil Rights Act of 1964, which prohibits racial‬

22‬
‭        ‭discrimination in programs receiving federal financial assistance.‬



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1‬
‭     ‭141.‬ ‭In addition to direct evidence of discrimination, racial “prejudice or‬

2‬
‭        ‭stereotype” may be proven through circumstantial evidence.‬‭See Village of‬

3‬
‭        ‭Arlington Heights v. Metropolitan Housing Development Corp.,‬‭429 U.S.‬

4‬
‭        ‭252, 266 (1977).‬


5‬
‭     ‭142.‬ ‭Further supporting this claim, the Second Circuit Court of Appeals, in‬

6‬
‭        ‭Chinese American Citizens Alliance of Greater New York (CACAGNY) v.‬

7‬
‭        ‭Adams‬‭, 116 F.4th 161 (2d Cir. 2024), unanimously affirmed‬‭that an equal‬

8‬
‭        ‭protection claim may proceed if “any individual has been negatively‬

9‬
‭        ‭affected or harmed by a discriminatory law or policy based on race, even if‬

10‬
‭        ‭there is no disparate impact on members of that racial class in the‬

11‬
‭        ‭aggregate.” Under the principle of‬‭stare decisis‬‭,‬‭this ruling provides‬

12‬
‭        ‭binding authority for the present lawsuit.‬


13‬‭V. CLAIMS FOR RELIEF‬
‭


14‬‭COUNT‬ ‭I‬ ‭-‬ ‭Violation‬ ‭of‬ ‭the‬ ‭Fourteenth‬ ‭Amendment‬ ‭(Equal‬ ‭Protection‬
‭

15‬‭Clause)‬
‭


16‬
‭     ‭143.‬ ‭Plaintiffs reallege and incorporate by reference the allegations set forth‬

17‬
‭        ‭above.‬


18‬
‭     ‭144.‬ ‭Defendant’s admissions policies and practices violate the Equal‬

19‬
‭        ‭Protection Clause of the Fourteenth Amendment by discriminating against‬

20‬
‭        ‭Asian-American applicants, including Stanley, on the basis of race.‬




  ‭Zhong & SWORD v. Cornell University‬                                       ‭Page‬‭44‬‭of‬‭147‬
 1‬
 ‭     ‭145.‬ ‭As a result of Defendant’s discriminatory policies and practices,‬

 2‬
 ‭         ‭Plaintiffs have suffered harm, including the loss of educational‬

 3‬
 ‭         ‭opportunities, emotional distress, and reputational damage.‬


 4‬
 ‭     ‭146.‬ ‭Plaintiffs have been and will continue to be injured by Defendant’s‬

 5‬
 ‭         ‭ongoing discriminatory admissions policies, which deny them an equal‬

 6‬
 ‭         ‭opportunity to compete for admission based on race or ethnicity.‬


 7‬
 ‭     ‭147.‬ ‭Plaintiffs are entitled to a declaratory judgment, pursuant to 28 U.S.C.‬

 8‬
 ‭         ‭§2201, and a permanent injunction because there is no plain, adequate, or‬

 9‬
 ‭         ‭speedy remedy at law to prevent Defendant from continuing to use‬

10‬
‭          ‭admissions policies and practices that discriminate on the basis of race or‬

11‬
‭          ‭ethnicity in violation of the Fourteenth Amendment and because the harm‬

12‬
‭          ‭Plaintiffs will otherwise continue to suffer is irreparable.‬


13‬‭COUNT‬ ‭II‬ ‭-‬ ‭Violation‬ ‭of‬ ‭Title‬ ‭VI‬ ‭of‬ ‭the‬ ‭Civil‬‭Rights‬‭Act‬‭of‬‭1964‬‭(42‬‭U.S.C.‬‭§‬
‭

14‬‭2000d)‬
‭


15‬
‭      ‭148.‬ ‭Plaintiffs reallege and incorporate by reference the allegations set forth‬

16‬
‭          ‭above.‬


17‬
‭      ‭149.‬ ‭Defendant receives federal financial assistance and is therefore‬

18‬
‭          ‭subject to Title VI of the Civil Rights Act of 1964, which prohibits‬

19‬
‭          ‭discrimination on the basis of race, color, or national origin in any program‬

20‬
‭          ‭or activity receiving federal financial assistance. Defendant’s admissions‬




   ‭Zhong & SWORD v. Cornell University‬                                                  ‭Page‬‭45‬‭of‬‭147‬
 1‬
 ‭        ‭policies and practices discriminate against Asian-American applicants,‬

 2‬
 ‭        ‭including Stanley, in violation of Title VI.‬


 3‬
 ‭    ‭150.‬ ‭As a result of Defendant’s discriminatory policies and practices,‬

 4‬
 ‭        ‭Plaintiffs have suffered harm, including the loss of educational‬

 5‬
 ‭        ‭opportunities, emotional distress, and reputational damage.‬


 6‬
 ‭    ‭151.‬ ‭Plaintiffs have been and will continue to be injured by Defendant’s‬

 7‬
 ‭        ‭ongoing discriminatory admissions policies, which deny them an equal‬

 8‬
 ‭        ‭opportunity to compete for admission based on race or ethnicity.‬


 9‬
 ‭    ‭152.‬ ‭Plaintiffs are entitled to a declaratory judgment, pursuant to 28 U.S.C.‬

10‬
‭         ‭§2201, and a permanent injunction because there is no plain, adequate, or‬

11‬
‭         ‭speedy remedy at law to prevent Defendant from continuing to use‬

12‬
‭         ‭admissions policies and practices that discriminate on the basis of race or‬

13‬
‭         ‭ethnicity in violation of Title VI of the Civil Rights Act of 1964 and because‬

14‬
‭         ‭the harm Plaintiffs will otherwise continue to suffer is irreparable.‬


15‬‭VI. PRAYER FOR RELIEF‬
‭


16‬‭WHEREFORE, Plaintiffs, Stanley, Nan, and SWORD, on behalf of its members‬
‭

17‬‭and all others similarly situated, respectfully request that this Court:‬
‭


18‬
‭     ‭153.‬ ‭Declare Cornell’s Admissions Practices Unconstitutional‬

19‬
‭            ‭a.‬ ‭Declare that Defendant’s student admissions policies and practices‬

20‬
‭                ‭violate:‬

21‬
‭                    ‭i.‬ ‭The Fourteenth Amendment to the U.S. Constitution,‬



  ‭Zhong & SWORD v. Cornell University‬                                         ‭Page‬‭46‬‭of‬‭147‬
1‬
‭                    ‭ii.‬ ‭Title VI of the Civil Rights Act of 1964.‬

2‬
‭            ‭b.‬ ‭Enjoin Defendant from engaging in racially discriminatory‬

3‬
‭                ‭admissions and hiring practices, and order it to take all necessary‬

4‬
‭                ‭steps to eliminate the effects of past discrimination.‬

5‬
‭     ‭154.‬ ‭Mandate Institutional Reforms & Accountability Measures at Cornell‬

6‬
‭            ‭a.‬ ‭Issue an injunction requiring Defendant to issue a formal public‬

7‬
‭                ‭apology to Asian-American applicants.‬

8‬
‭            ‭b.‬ ‭Issue an injunction requiring Defendant to dismiss, following a full‬

9‬
‭                ‭and fair public hearing, all Admissions Directors and other‬

10‬
‭                ‭administrators responsible for admission cycles found to be racially‬

11‬
‭                ‭discriminatory under the Supreme Court’s ruling in‬‭SFFA v. Harvard‬

12‬
‭                ‭(2023) or in violation of the narrow limitations on race-based‬

13‬
‭                ‭considerations established in‬‭Fisher II‬‭(2016) or‬‭earlier.‬

14‬
‭            ‭c.‬ ‭Issue an injunction requiring Defendant to dismiss, following a full‬

15‬
‭                ‭and fair public hearing, all administrators who knowingly defend this‬

16‬
‭                ‭lawsuit despite being aware of racial preferences in admissions—if‬

17‬
‭                ‭excessive before 2023—or in hiring.‬

18‬
‭            ‭d.‬ ‭Issue an injunction requiring Defendant to dismiss, after a full and‬

19‬
‭                ‭fair public hearing, all administrators who knowingly certified‬

20‬
‭                ‭compliance with federal anti-discrimination laws while being aware‬

21‬
‭                ‭of racial preferences in admissions—if excessive before 2023—or‬

22‬
‭                ‭hiring.‬




  ‭Zhong & SWORD v. Cornell University‬                                        ‭Page‬‭47‬‭of‬‭147‬
1‬
‭            ‭e.‬ ‭Refer individuals who knowingly made false certifications under‬

2‬
‭                ‭penalty of perjury for criminal prosecution.‬

3‬
‭     ‭155.‬ ‭Mandate Oversight & Transparency in Admissions at Cornell‬

4‬
‭            ‭a.‬ ‭Issue a permanent injunction requiring Defendant to establish an‬

5‬
‭                ‭independent admissions oversight board, approved by this Court,‬

6‬
‭                ‭with sole authority over the hiring and firing of Admissions Directors‬

7‬
‭                ‭at each Cornell campus.‬

8‬
‭            ‭b.‬ ‭Issue a permanent injunction requiring Defendant to fund recurring‬

9‬
‭                ‭independent audits of its admissions process, approved by this‬

10‬
‭                ‭Court, including a breakdown of accepted and rejected applicants’‬

11‬
‭                ‭qualifications by racial group.‬

12‬
‭            ‭c.‬ ‭Issue a permanent injunction requiring Defendant to implement‬

13‬
‭                ‭admissions procedures that prevent personnel from accessing or‬

14‬
‭                ‭inferring an applicant’s race or ethnicity.‬

15‬
‭            ‭d.‬ ‭Issue a permanent injunction requiring Defendant to implement‬

16‬
‭                ‭hiring procedures that prevent personnel from accessing or‬

17‬
‭                ‭inferring a candidate’s race or ethnicity.‬

18‬
‭            ‭e.‬ ‭Require Defendant to repeat its admission process independently‬

19‬
‭                ‭on a small group of randomly chosen applicants for each admission‬

20‬
‭                ‭cycle in order to demonstrate repeatability and self-consistency in‬

21‬
‭                ‭admissions decisions.‬

22‬
‭     ‭156.‬ ‭Require Mandatory Training & Compliance Measures at Cornell‬




  ‭Zhong & SWORD v. Cornell University‬                                    ‭Page‬‭48‬‭of‬‭147‬
1‬
‭            ‭a.‬ ‭Require annual 14th Amendment and Title VI & Title VII training for‬

2‬
‭                ‭all Cornell personnel involved in admissions or hiring.‬

3‬
‭            ‭b.‬ ‭Require all trained personnel to explicitly acknowledge that violating‬

4‬
‭                ‭14th Amendment, Title VI or Title VII, or failing to report violations‬

5‬
‭                ‭may result in disciplinary action, including termination.‬

6‬
‭     ‭157.‬ ‭Declare Judicial Scrutiny of Cornell’s Academic Policies‬

7‬
‭            ‭a.‬ ‭Declare that Defendant should no longer receive traditional judicial‬

8‬
‭                ‭deference as a bona fide academic institution unless it:‬

9‬
‭                    ‭i.‬ ‭Collects standardized test scores from all applicants in its‬

10‬
‭                        ‭admission process,‬

11‬
‭                    ‭ii.‬ ‭Ceases prioritizing immutable characteristics over academic‬

12‬
‭                        ‭merit in admissions and hiring.‬

13‬
‭     ‭158.‬ ‭Award Monetary Damages & Attorney’s Fees‬

14‬
‭            ‭a.‬ ‭Award nominal, compensatory, and punitive damages to Plaintiffs.‬

15‬
‭            ‭b.‬ ‭Award reasonable attorneys’ fees and costs incurred in this action.‬

16‬
‭                ‭While Plaintiffs currently appear pro se, they expressly reserve the‬

17‬
‭                ‭right to recover any documented legal expenditures should they‬

18‬
‭                ‭retain counsel or incur other recoverable costs.‬

19‬
‭            ‭c.‬ ‭Grant such other and further relief as this Court deems just and‬

20‬
‭                ‭proper.‬


21‬
‭




  ‭Zhong & SWORD v. Cornell University‬                                        ‭Page‬‭49‬‭of‬‭147‬
1‬ ‭VII. JURY DEMAND‬
‭


2‬ ‭Pursuant to the Seventh Amendment to the United States Constitution and Rule‬
‭

3‬ ‭38 of the Federal Rules of Civil Procedure, Plaintiffs hereby demand a trial by‬
‭

4‬ ‭jury on all issues so triable.‬
‭


5‬
‭


6‬ ‭I declare under penalty of perjury that the allegations in the complaint are true.‬
‭


7‬ ‭Respectfully submitted,‬
‭


8‬
‭


9‬ ‭Stanley Zhong (Pro Se)‬
‭

10‬ ‭211 Hope St #390755‬
‭

11‬ ‭Mountain View, CA 94039‬
‭


12‬
‭


13‬
‭
      Nan Zhong

14‬‭Nan Zhong (Pro Se)‬
‭

15‬‭Individually and as President of SWORD‬
‭

16‬‭211 Hope St #390755‬
‭

17‬‭Mountain View, CA 94039‬
‭

18‬‭nanzhong1@gmail.com‬
‭


19‬‭Dated:‬‭March 19, 2025‬
‭




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1‬
‭                                        ‭EXHIBIT 1‬

2‬
‭                         ‭E‬‭MAIL‬ ‭FROM‬ ‭G‬‭OOGLE‬ ‭RECRUITER‬ ‭IN‬ ‭2019‬




3‬
‭




 ‭Zhong & SWORD v. Cornell University‬                                          ‭Page‬‭51‬‭of‬‭147‬
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 ‭Zhong & SWORD v. Cornell University‬   ‭Page‬‭52‬‭of‬‭147‬
1‬
‭                                          ‭EXHIBIT 2‬

2‬
‭                        ‭S‭T‬ ANLEY‬‭’‭S‬ ‬ ‭RANKING‬ ‭IN‬ ‭G‭O
                                                               ‬ OGLE‬ ‭C‬‭ODE‬ ‭J‬‭AM‬




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 ‭Zhong & SWORD v. Cornell University‬                                                    ‭Page‬‭53‬‭of‬‭147‬
1‬
‭                                             ‭EXHIBIT 3‬

2‬
‭                  ‭S‭T‬ ANLEY‬‭’‭S‬ ‬ ‭RANKING‬ ‭IN‬ ‭M‭E‬ TA‬ ‭(F‬‭ACEBOOK‬‭) H‬‭ACKER‬ ‭C‬‭UP‬

3‬
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4‬
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 ‭Zhong & SWORD v. Cornell University‬                                                              ‭Page‬‭54‬‭of‬‭147‬
1‬
‭                                        ‭EXHIBIT 4‬

2‬
‭                         ‭S‬‭TANLEY‬‭’‭S‬ ‬ ‭RANKING‬ ‭IN‬ ‭MIT B‬‭ATTLECODE‬




3‬
‭




 ‭Zhong & SWORD v. Cornell University‬                                           ‭Page‬‭55‬‭of‬‭147‬
1‬
‭                                        ‭EXHIBIT 5‬

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‭                          ‭S‭T‬ ANLEY‬‭’‭S‬ ‬ ‭RANKING‬ ‭IN‬ ‭CMU‬‭PICO‬‭CTF‬

3‬
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5‬
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 ‭Zhong & SWORD v. Cornell University‬                                           ‭Page‬‭56‬‭of‬‭147‬
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‭                                           ‭EXHIBIT 6‬

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‭                         ‭S‭T‬ ANLEY‬‭’‬‭S‬ ‭RANKING‬ ‭IN‬ ‭S‬‭TANFORD‬ ‭P‬‭RO‬‭C‬‭O‬




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 ‭Zhong & SWORD v. Cornell University‬                                                   ‭Page‬‭57‬‭of‬‭147‬
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1‬
‭                                        ‭EXHIBIT 7‬

2‬
‭        ‭S‭T‬ ANLEY‬ ‭ADVANCING‬ ‭TO‬ ‭USA C‬‭OMPUTING‬ ‭O‭L‬ YMPIAD‬ ‭P‬‭LATINUM‬ ‭IN‬ ‭2021‬




3‬
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 ‭Zhong & SWORD v. Cornell University‬                                                     ‭Page‬‭59‬‭of‬‭147‬
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‭                                        ‭EXHIBIT 8‬

2‬
‭                      ‭NPR‬‭NEWS‬ ‭REPORT‬ ‭ABOUT‬ ‭COBOL C‬‭OWBOYS‬

3‬‭https://www.npr.org/2020/04/22/841682627/cobol-cowboys-aim-to-rescue-sluggis‬
‭

4‬‭h-state-unemployment-systems‬
‭




5‬
‭




 ‭Zhong & SWORD v. Cornell University‬                                  ‭Page‬‭60‬‭of‬‭147‬
1‬
‭                                         ‭EXHIBIT 9‬

2‬
‭                          ‭S‭T‬ ANLEY‬‭’‭S‬ ‬ ‭COBOL‬‭CODE‬ ‭ON‬ ‭G‭I‬T‬‭H‬‭UB‬

3‬‭https://github.com/qpwoeirut/LearningCOBOL‬
‭




4‬
‭




 ‭Zhong & SWORD v. Cornell University‬                                             ‭Page‬‭61‬‭of‬‭147‬
 1‬
 ‭                                         ‭EXHIBIT 10‬

 2‬
 ‭                      ‭E‭M
                           ‬ AIL‬ ‭EXCHANGE‬ ‭WITH‬ ‭C‬‭OBOL‬ ‭C‬‭OWBOYS‬ ‭IN‬ ‭2020‬

 3‬
 ‭

 4‬‭On May 25, 2020, at 6:52 PM, YYY <YYY@YYY.com> wrote:‬
 ‭

 5‬
 ‭

 6‬‭Dear COBOL Cowboys,‬
 ‭

 7‬
 ‭

 8‬‭We hope you are having a wonderful Memorial Day.‬
 ‭

 9‬
 ‭

10‬‭Our names are YYY and Stanley Zhong. We are programming enthusiasts. We‬
‭

11‬‭became interested in COBOL after learning how the current COVID-19 pandemic‬
‭

12‬‭has caused issues with outdated COBOL programs. In the last month, we have‬
‭

13‬‭been learning it to see if we could help. Our code can be found on GitHub here‬
‭

14‬‭and‬‭here‬‭.‬
‭

15‬
‭

16‬‭We found out about the COBOL Cowboys on the news and saw the work you are‬
‭

17‬‭doing to help people with their COBOL programs. If possible, we would like to‬
‭

18‬‭help. Would you be interested in us doing volunteer work for you?‬
‭

19‬
‭

20‬‭As a matter of disclosure, we are both 14 years old, but ready and eager to help‬
‭

21‬‭the world in any way we can.‬
‭

22‬
‭

23‬‭YYY and Stanley‬
‭




   ‭Zhong & SWORD v. Cornell University‬                                                ‭Page‬‭62‬‭of‬‭147‬
 1‬
 ‭

 2‬
 ‭

 3‬
 ‭

 4‬‭From: XXX <XXX@cobolcowboys.com>‬
 ‭

 5‬‭Date: Tue, May 26, 2020 at 12:22 PM‬
 ‭

 6‬‭Subject: Re: Volunteers Interested in COBOL‬
 ‭

 7‬‭To: YYY, Stanley‬
 ‭

 8‬
 ‭

 9‬‭YYY and Stanley—‬
 ‭

10‬
‭

11‬‭Howdy from Cobol Cowboys!‬
‭

12‬
‭

13‬‭Thank you for reaching out and offering your volunteer services. We also‬
‭

14‬‭appreciate you sending us samples of your code. Good work guys.‬
‭

15‬
‭

16‬‭We (Bill Hinshaw, Founder and myself) are intrigued by your interest and would‬
‭

17‬‭like to have further discussions with both of you.‬
‭

18‬
‭

19‬‭An important next step, given your ages, would be to make contact with a‬
‭

20‬‭parent/guardian. I will need to talk to them on the phone and also get an OK in‬
‭

21‬‭writing (a quick email is fine) with their written approval for Cobol Cowboys, LLC,‬
‭

22‬‭to have an introductory teleconference with you both as well as follow-up emails.‬
‭

23‬
‭




  ‭Zhong & SWORD v. Cornell University‬                                   ‭Page‬‭63‬‭of‬‭147‬
 1‬‭YYY and Stanley, please forward this email to your parent/guardian and ask‬
 ‭

 2‬‭them to phone me at xxx-xxx-xxxx, so we may proceed. I am available today:‬
 ‭

 3‬‭now until 7pm and tomorrow through Friday, from 9am to 1pm.‬
 ‭

 4‬
 ‭

 5‬‭Please let me know the name of your parent/guardian that will be calling with an‬
 ‭

 6‬‭approximate time of their call.‬
 ‭

 7‬
 ‭

 8‬‭Bill Hinshaw and I look forward to possible future discussions pertaining to‬
 ‭

 9‬‭COBOL.‬
 ‭

10‬
‭

11‬‭XXX, COO‬
‭

12‬‭Cobol Cowboys, LLC‬
‭

13‬‭Cell: xxx-xxx-xxxx‬
‭

14‬‭Email: XXX@cobolcowboys.com‬
‭

15‬
‭

16‬‭not our first rodeo ...‬
‭

17‬
‭

18‬
‭

19‬
‭

20‬‭Nan Zhong <nanzhong1@gmail.com>‬
‭                                            ‭Tue, May 26, 2020 at 11:31 PM‬

21‬‭To: XXX <XXX@cobolcowboys.com>‬
‭

22‬‭Cc: Stanley, YYY@YYY.com‬
‭

23‬
‭




   ‭Zhong & SWORD v. Cornell University‬                                  ‭Page‬‭64‬‭of‬‭147‬
 1‬‭Hi XXX,‬
 ‭

 2‬
 ‭

 3‬‭I am Stanley's dad. Thanks for your quick response to the boys! I know Stanley‬
 ‭

 4‬‭was excited to see it.‬
 ‭

 5‬
 ‭

 6‬‭Yes, please accept this email as the written approval for Cobol Cowboys, LLC, to‬
 ‭

 7‬‭have an introductory teleconference with Stanley as well as follow-up emails. I‬
 ‭

 8‬‭am sure you will hear from YYY’s parent soon as well.‬
 ‭

 9‬
 ‭

10‬‭BTW, summer coding job is nothing new to Stanley. He interned at my startup in‬
‭

11‬‭2018, and programmed (in Python) the backend service (on AWS) that‬
‭

12‬‭automatically runs insurance quotes. These days he is very much into‬
‭

13‬‭competitive programming (mostly in C++) and computer security contests.‬
‭

14‬
‭

15‬‭YYY and Stanley are school friends. Both live the Bay Area, CA. Based on the‬
‭

16‬‭NPR news story, I believe you live in Gainesville, Texas, 2 hours ahead of us. If‬
‭

17‬‭that is correct, can I call you at 11am your time (9am my time) on Wednesday‬
‭

18‬‭5/27? I will call from my mobile number xxx-xxx-xxxx.‬
‭

19‬
‭

20‬‭Looking forward to speaking with you!‬
‭

21‬
‭

22‬‭Thanks,‬
‭

23‬‭Nan‬
‭




  ‭Zhong & SWORD v. Cornell University‬                                   ‭Page‬‭65‬‭of‬‭147‬
 1‬
 ‭

 2‬
 ‭

 3‬
 ‭

 4‬‭XXX <XXX@cobolcowboys.com>‬‭Wed, May 27, 2020 at 6:48 AM‬
 ‭

 5‬‭To: Nan Zhong <nanzhong1@gmail.com>‬
 ‭

 6‬
 ‭

 7‬‭Nan—‬
 ‭

 8‬
 ‭

 9‬‭9am your time (11amCST) today works fine.‬
 ‭

10‬
‭

11‬‭The work you’ve described that Stanley has been doing is most impressive.‬
‭

12‬‭Thanks so much for your email.‬
‭

13‬
‭

14‬‭Will talk soon.‬
‭

15‬
‭

16‬‭XXX, COO‬
‭

17‬‭Cobol Cowboys, LLC‬
‭

18‬‭Cell: xxx-xxx-xxxx‬
‭

19‬‭Email: XXX@cobolcowboys.com‬
‭

20‬
‭

21‬‭not our first rodeo ...‬
‭

22‬
‭




   ‭Zhong & SWORD v. Cornell University‬                              ‭Page‬‭66‬‭of‬‭147‬
1‬
‭                                        ‭EXHIBIT 11‬

2‬
‭                        ‭R‭A
                            ‬ BBIT‬‭S‭I‬GN‬ ‭FOUNDED‬ ‭BY‬ ‭S‬‭TANLEY‬ ‭IN‬ ‭2021‬

3‬‭www.rabbitsign.com‬
‭




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6‬
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7‬
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1‬ ‭https://blog.rabbitsign.com/launching-an-unlimited-free-e-signing-service-fe77a5‬
‭

2‬ ‭0a66aa‬
‭




3‬
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 ‭Zhong & SWORD v. Cornell University‬                                 ‭Page‬‭68‬‭of‬‭147‬
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‭                                           ‭EXHIBIT 12‬

2‬
‭       ‭E‭X‬ CERPT‬ ‭OF‬ ‭THE‬ ‭AWS W‬‭ELL‬‭-A‬‭RCHITECTED‬ ‭R‬‭EVIEW‬ ‭(WAR)‬‭FOR‬ ‭R‬‭ABBIT‬‭S‬‭IGN‬




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1‬
‭                                        ‭EXHIBIT 13‬

2‬
‭               ‭E‭M
                   ‬ AILS‬ ‭FROM‬ ‭AWS‬‭REGARDING‬ ‭THE‬ ‭R‬‭ABBIT‬‭S‬‭IGN‬ ‭CASE‬ ‭STUDY‬

3‬
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 ‭Zhong & SWORD v. Cornell University‬                                                       ‭Page‬‭71‬‭of‬‭147‬
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‭                                        ‭EXHIBIT 14‬

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‭                     ‭G‭O
                         ‬ OGLE‬‭’‬‭S‬ ‭FULL‬‭-‬‭TIME‬ ‭EMPLOYMENT‬ ‭OFFER‬ ‭LETTER‬

3‬
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 ‭Zhong & SWORD v. Cornell University‬                                                 ‭Page‬‭72‬‭of‬‭147‬
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‭                                               ‭EXHIBIT 15‬

2‬
‭      ‭I‬‭NDUSTRY‬ ‭NEWS‬ ‭COVERAGE‬ ‭FOR‬ ‭R‭A
                                               ‬ BBIT‬‭S‭I‬GN‬‭’‭S‬ ‬ ‭FREE‬ ‭HIPAA-‬‭COMPLIANT‬ ‭E‭-‬ ‭S‬ IGNING‬

3‬ ‭https://www.hipaajournal.com/rabbitsign-achieves-hipaa-compliance-for-its-free-‬
‭

4‬ ‭e-signing-solution/‬
‭




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 ‭Zhong & SWORD v. Cornell University‬                                                               ‭Page‬‭73‬‭of‬‭147‬
1‬
‭                                               ‭EXHIBIT 16‬

2‬
‭     ‭E‭P‬ ISODE‬ ‭OF‬ ‭V‬‭IEWPOINT‬ ‭WITH‬ ‭D‬‭ENNIS‬ ‭Q‬‭UAID‬ ‭FEATURING‬ ‭R‬‭ABBIT‬‭S‬‭IGN‬ ‭AND‬ ‭S‭T‬ ANLEY‬

3‬
‭

4‬ ‭https://www.viewpointproject.com/features-postidd3e6da7a/‬
‭




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 ‭Zhong & SWORD v. Cornell University‬                                                                ‭Page‬‭74‬‭of‬‭147‬
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‭                                        ‭EXHIBIT 17‬

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‭                                        ‭S‭T‬ ANLEY‬‭’‬‭S‬ ‭GPA‬




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 ‭Zhong & SWORD v. Cornell University‬                              ‭Page‬‭75‬‭of‬‭147‬
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‭                                           ‭EXHIBIT 18‬

2‬
‭          ‭S‬‭TANLEY‬‭’‬‭S‬ ‭QUALIFICATION‬ ‭FOR‬ ‭E‬‭LIGIBILITY‬ ‭FOR‬ ‭L‬‭OCAL‬ ‭C‬‭ONTEXT‬ ‭(ELC)‬

3‬
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‭                                         ‭EXHIBIT 19‬

2‬
‭                ‭H‬‭IGH‬ ‭SCHOOL‬ ‭RANKINGS‬ ‭BY‬ ‭US N‬‭EWS‬ ‭AND‬ ‭W‭O
                                                                        ‬ RLD‬ ‭R‭E‬ PORT‬

3‬ ‭https://www.usnews.com/education/best-high-schools/california/districts/palo-alt‬
‭

4‬ ‭o-unified-school-district/henry-m-gunn-high-school-2992‬
‭

5‬
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 ‭Zhong & SWORD v. Cornell University‬                                                       ‭Page‬‭77‬‭of‬‭147‬
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‭                                        ‭EXHIBIT 20‬

2‬
‭                             ‭H‬‭IGH‬ ‭SCHOOL‬ ‭RANKINGS‬ ‭BY‬ ‭N‭I‬CHE‬

3‬ ‭https://www.niche.com/k12/henry-m-gunn-high-school-palo-alto-ca/‬
‭




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 ‭Zhong & SWORD v. Cornell University‬                                      ‭Page‬‭78‬‭of‬‭147‬
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1‬
‭                                        ‭EXHIBIT 21‬

2‬
‭                           ‭S‭T‬ ANLEY‬‭’‭S‬ ‬ ‭PSAT‬‭AND‬ ‭SAT‬‭SCORES‬




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1‬
‭                                           ‭EXHIBIT 22‬

2‬
‭              ‭S‭T‬ ANLEY‬‭’‭S‬ ‬ ‭N‬‭ATIONAL‬ ‭M‬‭ERIT‬ ‭S‭C
                                                             ‬ HOLARSHIP‬ ‭FINALIST‬ ‭CERTIFICATE‬




3‬
‭



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1‬
‭                                              ‭EXHIBIT 23‬

2‬ ‭S‭T
‭     ‬ ANLEY‬‭’‭S‬ ‬ ‭ROLE‬ ‭AS‬ ‭A‬ ‭FOUNDING‬ ‭OFFICER‬ ‭AND‬ ‭PRESIDENT‬ ‭OF‬ ‭THE‬ ‭COMPETITIVE‬ ‭PROGRAMMING‬

3‬
‭                                          ‭CLUB‬ ‭AT‬ ‭HIS‬ ‭HIGH‬ ‭SCHOOL‬




4‬
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‭                                        ‭EXHIBIT 24‬

2‬
‭                         ‭O‭P‬ EN‬‭B‬‭RACKETS‬ ‭CO‬‭-‬‭FOUNDED‬ ‭BY‬ ‭S‬‭TANLEY‬

3‬ ‭https://www.openbrackets.us/‬
‭




4‬
‭




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1‬
‭                                           ‭EXHIBIT 25‬

2‬
‭                   ‭S‬‭TANLEY‬‭’‭S‬ ‬ ‭P‬‭RESIDENT‬‭’‭S‬ ‬ ‭V‬‭OLUNTEER‬ ‭S‭E‬ RVICE‬ ‭A‬‭WARD‬

3‬
‭

4‬‭For his volunteer work at OpenBrackets, Stanley received the highest level of‬
‭

5‬‭PVSA in 2021. His volunteer hours were certified by two adult advisors at‬
‭

6‬‭OpenBrackets.‬
‭




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 1‬
 ‭                                            ‭EXHIBIT 26‬

 2‬
 ‭                    ‭N‬‭EWS‬ ‭REPORTS‬ ‭ON‬ ‭S‬‭TANLEY‬‭’‭S‬ ‬ ‭COLLEGE‬ ‭ADMISSION‬ ‭STORY‬

 3‬
 ‭

 4‬‭ABC7 Interview of Stanley and Nan on 10/10/2023‬
 ‭

 5‬‭https://abc7news.com/stanley-zhong-college-rejected-teen-full-time-job-google-admissio‬
 ‭

 6‬‭ns/13890332/‬
 ‭

 7‬‭Bay Area high school grad rejected by 16 colleges hired by Google‬
 ‭



 8‬‭ABC7 follow-up interview of Stanley on 10/13/2023‬
 ‭


 9‬‭https://abc7news.com/high-school-grad-rejected-by-colleges-stanley-zhong-schooler-lan‬
 ‭

10‬‭ds-google-job-bay-area/13909470/‬
‭

11‬‭High school grad rejected by 16 colleges reveals how he got Google job‬
‭



12‬‭ABC7 follow-up interview of Nan on 10/16/2023‬
‭


13‬‭https://abc7news.com/stanley-zhong-google-bay-area-teen-college-admissions-transpar‬
‭

14‬‭ency/13925114/‬
‭

15‬‭Dad of CA teen rejected by colleges but hired by Google calls for admissions‬
‭

16‬‭transparency‬
‭



17‬‭CBS 10/20/2023‬
‭

18‬‭https://www.cbsnews.com/news/stanley-zhong-google-software-engineer/‬
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20‬‭CNBC 11/8/2023‬
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21‬‭https://www.cnbc.com/2023/11/08/dad-of-18-year-old-google-engineer-shares-his-top-pa‬
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22‬‭renting-rule.html‬
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 1‬‭People‬‭10/20/2023‬
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 2‬‭https://people.com/high-school-graduate-rejected-over-dozen-colleges-lands-jobs-at-goo‬
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 3‬‭gle-8364398‬
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 4‬‭USA Today‬‭10/13/2023‬
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 5‬‭https://www.usatoday.com/story/news/education/2023/10/13/google-hired-high-school-gr‬
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 6‬‭ad-colleges-rejections-stanley-zhong/71166136007/‬
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 7‬‭Business Today 10/17/2023‬
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 8‬‭https://www.businesstoday.in/technology/news/story/google-vs-college-google-hires-18-y‬
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 9‬‭ear-old-as-software-engineer-after-16-colleges-reject-him-402101-2023-10-16‬
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11‬‭Yahoo News 10/11/2023‬
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12‬‭https://news.yahoo.com/bay-area-teen-rejected-16-204200918.html‬
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14‬‭Palo Alto Online 10/23/2023‬
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15‬‭https://www.paloaltoonline.com/news/2023/10/23/from-gunn-to-google-meet-stanley-zho‬
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16‬‭ng-the-18-year-old-college-reject-who-landed-every-techies-dream-job‬
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17‬‭Sing Tao Daily 10/4/2023‬
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18‬‭https://epaper.singtaousa.com/flippingbook/epaper_sf/2023/20231010/21/‬
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19‬‭World Journal 10/13/2023‬
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20‬‭https://www.worldjournal.com/wj/story/121469/7504367‬
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21‬‭https://www.worldjournal.com/wj/story/121472/7504474‬
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‭                                         ‭EXHIBIT 27‬

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‭           ‭C‬‭ONGRESSIONAL‬ ‭HEARING‬ ‭CITING‬ ‭S‬‭TANLEY‬‭’‭S‬ ‬ ‭COLLEGE‬ ‭ADMISSION‬ ‭CASE‬

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4‬‭https://www.youtube.com/live/4Zu5cdfv9kk?si=XufizKznBZZZlnWo&t=2587‬
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1‬‭https://democrats-edworkforce.house.gov/imo/media/doc/mike_zhao.pdf‬
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2‬‭(Appendix A, page 4)‬
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‭                                         ‭EXHIBIT 28‬

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‭                  ‭P‭R
                      ‬ OTESTS‬ ‭AGAINST‬ ‭SFFA‬‭AND‬ ‭RACE‬‭-‭N
                                                               ‬ EUTRAL‬ ‭ADMISSIONS‬

3‬ ‭https://www.harvardmagazine.com/2023/07/rally-against-scotus-admissions-ruli‬
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3‬ ‭https://www.youtube.com/watch?v=OFN4SeF-Lh4‬
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4‬ ‭Harvard Students Rally in Support of Affirmative Action After Supreme Court‬
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5‬ ‭Ruling‬
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10‬ ‭https://youtu.be/Ruc1BlRvsDo?si=FFkWoJiWy_gmHawn&t=89‬
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11‬ ‭University of Texas students argue over anti-affirmative action bake sale‬
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5‬ ‭https://www.youtube.com/watch?v=61ywDq-vEZg‬
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6‬ ‭Protesters Clash in Washington After Supreme Court Ends Affirmative Action‬
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2‬ ‭https://www.youtube.com/watch?v=zzeeOBthe9A‬
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3‬ ‭Affirmative action supporters rally against Supreme Court ruling in 2005‬
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‭                                            ‭EXHIBIT 29‬

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‭     ‭H‬‭ARVARD‬ ‭THEN‬‭-P‬‭RESIDENT‬ ‭C‬‭LAUDINE‬ ‭G‬‭AY‬ ‭RESPONDING‬ ‭TO‬ ‭S‬‭UPREME‬ ‭C‬‭OURT‬ ‭RULING‬

3‬‭https://www.nbcnews.com/politics/supreme-court/supreme-court-strikes-affirmativ‬
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4‬‭e-action-programs-harvard-unc-rcna66770‬
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5‬‭At 1:46 of the video clip‬
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        ‬ OFESSOR‬ ‭J‬‭ANELLE‬ ‭W‭O
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4‬‭https://www.latimes.com/opinion/story/2023-06-14/affirmative-action-supreme-co‬
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5‬‭urt-harvard-case-asian-americans‬
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‭                                         ‭EXHIBIT 31‬

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‭                   ‭S‬‭TATE‬ ‭AUDIT‬ ‭OF‬ ‭UC B‬‭ERKELEY‬‭’‭S‬ ‬ ‭ADMISSIONS‬ ‭IN‬ ‭1987‬

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4‬ ‭https://www.auditor.ca.gov/pdfs/oag/p-722.pdf‬
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‭                                        ‭EXHIBIT 32‬

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‭                     ‭UC B‬‭ERKELEY‬ ‭C‬‭HANCELLOR‬‭’‭S‬ ‬ ‭APOLOGY‬ ‭IN‬ ‭1989‬

3‬ ‭https://www.latimes.com/archives/la-xpm-1989-04-07-mn-1075-story.html‬
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‭                                        ‭EXHIBIT 33‬

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‭                       ‭S‬‭URVEY‬ ‭OF‬ ‭C‬‭OLLEGE‬ ‭A‬‭DMISSIONS‬ ‭D‬‭IRECTORS‬

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4‬ ‭https://www.insidehighered.com/news/survey/pressure-build-class-2016-survey-‬
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5‬ ‭admissions-directors‬
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‭                                         ‭EXHIBIT 34‬

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‭        ‭F‬‭ORMER‬ ‭D‬‭ARTMOUTH‬ ‭ADMISSION‬ ‭OFFICER‬ ‭ON‬ ‭DISCRIMINATION‬ ‭AGAINST‬ ‭A‬‭SIANS‬

3‬ ‭https://www.huffpost.com/entry/the-ivy-league-asian-prob_b_10121814‬
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‭                                             ‭EXHIBIT 35‬

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‭    ‭E‭X‬ CERPT‬ ‭FROM‬ ‭THE‬ ‭SFFA’‬‭S‬ ‭LEGAL‬ ‭COMPLAINT‬ ‭ABOUT‬ ‭A‬‭SIAN‬‭-A‬‭MERICAN‬ ‭APPLICANTS‬ ‭AND‬

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‭                                                ‭THEIR‬ ‭FAMILIES‬




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‭                                        ‭EXHIBIT 36‬

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‭        ‭E‭X‬ CERPT‬ ‭FROM‬ ‭THE‬ ‭SFFA’‬‭S‬ ‭LEGAL‬ ‭COMPLAINT‬ ‭ABOUT‬ ‭COLLEGE‬ ‭COUNSELORS‬




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‭                                          ‭EXHIBIT 37‬

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‭               ‭A‬‭SIAN‬‭-A‬‭MERICAN‬ ‭APPLICANTS‬ ‭TRIED‬ ‭TO‬ ‭APPEAR‬ ‭“‬‭LESS‬ ‭A‬‭SIAN‬‭”‬

3‬ ‭https://www.nytimes.com/2022/12/02/us/asian-american-college-applications.ht‬
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4‬ ‭ml?unlocked_article_code=1.pk4.Oskn.OpS2fQgjTg2C&smid=url-share‬
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‭                                        ‭EXHIBIT 38‬

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‭                ‭A‬‭SIAN‬‭-A‬‭MERICAN‬ ‭ENROLLMENT‬ ‭ROSE‬ ‭AFTER‬ ‭LEGAL‬ ‭PRESSURE‬

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4‬ ‭https://asianamericanforeducation.org/en/call_for_complaint_2017_en/‬
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‭                                          ‭EXHIBIT 39‬

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‭                  ‭E‬‭XCERPT‬ ‭FROM‬ ‭CHAPTER‬ ‭7‬‭IN‬ ‭T‬‭HE‬ ‭P‭R
                                                                   ‬ ICE‬ ‭OF‬ ‭A‬‭DMISSION‬




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‭                                            ‭EXHIBIT 40‬

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                  ‬ ‭.‬ J‬‭OHN‬ ‭M‭O
                                   ‬ ORES‬‭’‬‭S‬ ‭ACCUSATION‬ ‭IN‬ ‭T‬‭HE‬ ‭P‬‭RICE‬ ‭OF‬ ‭A‬‭DMISSION‬




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 ‭                                        ‭EXHIBIT 41‬

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                              ‬ OFESSOR‬ ‭T‬‭IM‬ ‭G‭R
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 4‬ ‭https://youtu.be/zUsuIr1E_6s?si=c7acYOK9LykvZh8a&t=31‬
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 5‬ ‭Professor Tim Groseclose talking to media about his observations of UCLA‬
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 6‬ ‭violating Prop 209‬
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10‬ ‭https://dailybruin.com/2012/11/08/submission-faculty-letter-misrepresents-mare-r‬
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11‬ ‭eports-findings‬
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12‬ ‭Professor Tim Groseclose talking about racial discriminations identified in‬
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13‬ ‭Professor Robert Mare’s reports‬
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‭                                           ‭EXHIBIT 42‬

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‭             ‭E‭X‬ CERPTS‬ ‭FROM‬ ‭P‭R
                                      ‬ OFESSOR‬ ‭T‬‭IM‬ ‭G‭R
                                                            ‬ OSECLOSE‬‭’‭S‬ ‬ ‭BOOK‬ ‭C‬‭HEATING‬




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‭                                             ‭EXHIBIT 43‬

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‭        ‭UCLA‬‭MEDICAL‬ ‭SCHOOL‬‭’‭S‬ ‬ ‭A‭S‬ IAN‬ ‭ENROLLMENT‬ ‭DECLINED‬ ‭35%‬‭FROM‬ ‭2019‬‭TO‬ ‭2022‬

3‬ ‭https://www.latimes.com/business/story/2024-05-30/is-ucla-a-failed-medical-sch‬
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4‬ ‭ool-debunking-a-dumb-right-wing-meme‬
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6‬ ‭https://www.yahoo.com/news/column-ucla-failed-medical-school-130036473.htm‬
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‭                                        ‭EXHIBIT 44‬

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3‬‭https://michigantoday.umich.edu/2024/05/17/michigans-affirmative-action-debate/‬
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3‬‭https://deepblue.lib.umich.edu/handle/2027.42/58612‬
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‭                                          ‭EXHIBIT 45‬

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‭           ‭B‬‭ROWN‬ ‭U‬‭NIVERSITY‬ ‭M‬‭EDICAL‬ ‭S‬‭CHOOL‬ ‭F‬‭ACULTY‬ ‭P‬‭ROMOTION‬ ‭C‬‭RITERIA‬

3‬‭https://brownmedicine.org/3/wp-content/uploads/2023/06/Promotion-Criteria-and-‬
‭

4‬‭DOM-guidelines-for-Senior-Ranks.pdf‬
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‭                                        ‭EXHIBIT 46‬

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‭                ‭UCLA‬‭MEDICAL‬ ‭SCHOOL‬‭’‭S‬ ‬ ‭RACE‬‭-‭B
                                                          ‬ ASED‬ ‭FELLOWSHIP‬ ‭PROGRAM‬

3‬ ‭The Dean of UCLA Medical School says it does not discriminate based on race.‬
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4‬ ‭His own research center runs a Fellowship program (named ‘iDIVERSE’) that‬
‭

5‬ ‭barred white and Asian researchers from applying.‬
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6‬ ‭https://freebeacon.com/campus/the-dean-of-ucla-medical-school-says-it-does-n‬
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7‬ ‭ot-discriminate-based-on-race-his-own-research-center-runs-a-minorities-only-fe‬
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‭                                             ‭EXHIBIT 47‬

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‭              ‭UC A‬‭DMISSION‬ ‭R‭E‬ ADER‬‭’‭S‬ ‬ ‭O‭P‬ INION‬ ‭P‬‭IECE‬ ‭IN‬ ‭N‬‭EW‬ ‭Y‬‭ORK‬ ‭T‬‭IMES‬

3‬‭https://www.nytimes.com/2013/08/04/education/edlife/lifting-the-veil-on-the-holisti‬
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4‬‭c-process-at-the-university-of-california-berkeley.html?unlocked_article_code=1.6‬
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5‬‭Ew.hDKN.WtxDzNosRmxO&smid=em-share‬
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‭                                              ‭EXHIBIT 48‬

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‭      ‭C‬‭ALIFORNIA‬ ‭S‭T‬ ATE‬ ‭A‬‭UDITOR‬‭’‭S‬ ‬ ‭REPORT‬ ‭ON‬ ‭UC’‬‭S‬ ‭ADMISSIONS‬ ‭IN‬ ‭2020 - S‬‭ECTIONS‬

3‬ ‭https://information.auditor.ca.gov/reports/2019-113/index.html‬
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‭                                              ‭EXHIBIT 49‬

2‬ ‭UC B‬‭ERKELEY‬ ‭L‭A
‭                     ‬ W‬ ‭S‭C
                              ‬ HOOL‬ ‭D‬‭EAN‬‭, M‬‭R‭.‬ ‬‭Erwin Chemerinsky‬‭’‭S‬ ‬ ‭PUBLIC‬ ‭TEACHING‬ ‭TO‬ ‭USE‬

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‭                                         ‭RACE‬ ‭WHILE‬ ‭CONCEALING‬ ‭IT‬


4‬ ‭https://x.com/realchrisrufo/status/1674548940522549248‬
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8‬‭https://www.newyorker.com/news/our-columnists/the-sad-death-of-affirmative-acti‬
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‭                                             ‭EXHIBIT 50‬

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‭       ‭UC R‬‭IVERSIDE‬ ‭C‬‭HANCELLOR‬‭’‭S‬ ‬ ‭LETTER‬ ‭OF‬ ‭CENSURE‬ ‭TO‬ ‭P‭R
                                                                               ‬ OFESSOR‬ ‭P‬‭ERRY‬ ‭L‬‭INK‬

3‬ ‭https://drive.google.com/file/d/1rlivgzTvMD1BeGMAZsFJou-5MXlhN97f/view?us‬
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4‬ ‭p=drive_link‬
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‭                                          ‭EXHIBIT 51‬

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‭                 ‭UC R‬‭IVERSIDE‬‭’‭S‬ ‬ ‭PERSECUTION‬ ‭OF‬ ‭P‬‭ROFESSOR‬ ‭P‭E‬ RRY‬ ‭L‬‭INK‬

3‬ ‭https://www.wsj.com/opinion/uc-riversides-dei-guardians-came-after-me-39d8e2‬
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1‬ ‭https://en.wikipedia.org/wiki/Perry_Link‬
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‭                                        ‭EXHIBIT 52‬

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‭                          ‭UM‬‭AND‬ ‭UC‬‭WANT‬ ‭RACIAL‬ ‭PREFERENCE‬

3‬‭https://www.nytimes.com/2022/08/26/us/affirmative-action-admissions-supreme-c‬
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4‬‭ourt.html‬
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‭                                          ‭EXHIBIT 53‬

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‭                     ‭C‬‭ORNELL‬ ‭P‬‭RESIDENT‬‭’‭S‬ ‬ ‭STATEMENT‬ ‭ON‬ ‭ANTI‬‭-‬‭RACISM‬

3‬‭https://statements.cornell.edu/2020/20200716-additional-actions.cfm‬
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‭                                          ‭EXHIBIT 54‬

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‭           ‭C‭O
               ‬ RNELL‬‭’‭S‬ ‬ ‭REQUIREMENT‬ ‭FOR‬ ‭DIVERSITY‬ ‭STATEMENT‬ ‭IN‬ ‭FACULTY‬ ‭HIRING‬

‭‬‭https://apps.hr.cornell.edu/recruiting/facultyview.cfm?posting_id=_JOB_POSTIN‬
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4‬‭G-3-88665‬
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‭               ‭D‭E‬ MAND‬ ‭FOR‬ ‭RACE‬‭-‬‭BASED‬ ‭HIRING‬ ‭AND‬ ‭PROMOTION‬ ‭AT‬ ‭C‭O
                                                                                      ‬ RNELL‬

3‬‭https://medium.com/@cornellfacultydemands/faculty-students-and-staff-for-an-an‬
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4‬‭ti-racist-cornell-2020-demands-b5820bdb1ee4‬
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‭      ‭21%‬‭OF‬ ‭THE‬ ‭CANDIDATES‬ ‭WERE‬ ‭SCREENED‬ ‭OUT‬ ‭SOLELY‬ ‭BASED‬ ‭ON‬ ‭DEI‬‭CRITERIA‬

3‬‭https://drive.google.com/file/d/1q5uiVZQkcOsu3lIxU1ufzZx2dgbwsEqr/view‬
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3‬‭https://ivyexcellence.org/news/open-letter-cornell-board-of-trustees‬
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‭      ‭C‭O
          ‬ RNELL‬‭’‭S‬ ‬ ‭AMICUS‬ ‭BRIEF‬ ‭WITH‬ ‭THE‬ ‭US S‬‭UPREME‬ ‭C‬‭OURT‬ ‭IN‬ ‭SFFA‬‭V‭.‬ H‬‭ARVARD‬

3‬‭https://www.supremecourt.gov/DocketPDF/20/20-1199/232422/20220801150520‬
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4‬‭881_20-1199%20%2021-707%20bsac%20Universities.pdf‬
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‭    ‭C‬‭ORNELL‬ ‭P‬‭RESIDENT‬ ‭M‬‭ARTHA‬ ‭E. P‬‭OLLACK‬‭’‭S‬ ‬ ‭STATEMENT‬ ‭FOLLOWING‬ ‭SFFA‬‭V‬‭. H‬‭ARVARD‬

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‭                                                    ‭RULING‬


4‬‭https://news.cornell.edu/stories/2023/06/president-pollack-message-supreme-co‬
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                                                                      ‬ RK‬ ‭AND‬ ‭THE‬ ‭U.S.‬

3‬ ‭https://www.census.gov/library/stories/state-by-state/new-york-population-chang‬
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4‬ ‭e-between-census-decade.html‬
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2‬‭https://www.nytimes.com/2021/08/12/us/us-census-population-growth-diversity.ht‬
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‭                                        ‭EXHIBIT 61‬

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‭                         ‭C‬‭ORNELL‬ ‭CLASS‬ ‭OF‬ ‭2014-2025‬‭PROFILE‬

3‬‭https://irp.cornell.edu/university-factbook/freshman-profile-archives‬
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3‬‭https://supreme.justia.com/cases/federal/us/579/14-981/‬
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‭                      ‭C‬‭ORNELL‬ ‭C‬‭LASS‬ ‭OF‬ ‭2023‬‭AND‬ ‭2024 P‬‭ROFILES‬

3‬‭https://irp.cornell.edu/wp-content/uploads/2021/02/Profile2019_first-year.pdf‬
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5‬‭https://irp.cornell.edu/wp-content/uploads/2021/02/Profile2020_first-year.pdf‬
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‭                                        ‭EXHIBIT 64‬

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‭                          ‭C‬‭ORNELL‬ ‭CLASS‬ ‭OF‬ ‭2023 SAT‬‭SCORES‬

3‬‭https://irp.cornell.edu/wp-content/uploads/2021/02/Profile2019_first-year.pdf‬
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‭                            ‭N‬‭ATIONAL‬ ‭SAT‬‭SCORE‬ ‭DISTRIBUTION‬

3‬‭https://reports.collegeboard.org/media/pdf/2023-total-group-sat-suite-of-assessm‬
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4‬‭ents-annual-report%20ADA.pdf‬‭(page 7)‬
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